 

 

Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 1 of 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

speculate a as Ss to the reason, , that 1 found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims in cases.

 

3/19/2013

KT s/w civil rights attorney extensively about CL's case. Advised that.
| believed she is the victim of abuse, that | did think she was treated
jin an extreme manner by NYPD and the DA's office but | could not
speculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims in cases.

PA-Legal

 

3/29/2013

KT s/w CL and discussed Siegle's choice to dectine representation.
gave her my opinion on why he decided as he did. CL was very
upset, distressed. Discussed other options, did some counseling,
etc.

Info-Other

 

3/29/2013

KT made referral to Emerson, Celli et al to screen client for civil
{rights claim.

Referral-
Other

 

3/29/2013

KT sfw CL and discussed Siegle’s choice to decline representation.
gave her my opinion on why he decided as he did. CL was very
jupset, distressed. Discussed other options, did some counseling,
etc.

Info-Legal

 

~ 3/29/2013

KT s/w CL and discussed Sieg le's choice to decline representation.
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upset, distressed. Discussed other options, did some counseling,
etc.

Crisis
Counseling

 

~ 3/29/2013

KT s/w CL and discussed ‘Siegle’ s choice to decline representation.
gave her my opinion on why he decided as he did. CL was very
jupset, distressed. Discussed other options, did some counseling,
etc.

Follow Up

 

3/29/2013

KT recd email from CL inquiring about siw Siegle._

Follow Up 7

 

2/29/2013

KT rec'd message from CL ©

[Follow Up

 

7/8/2013}

KT rec'd message from CL

[Follow Up

 

7/9/2013:

KT s/w Audrey Moore about the cz case - she advised that CL had
threatened her.

ICJA-DA

 

~ 7/10/2013

KT s/w CL and discussed ‘current issues. ~CL stated she received a

\CL my notes from my phone call to Det. Galan. She requested |
send them. CL advised she was no longer receiving services from

Gave emotional support. oe

[Follow Up
Icall from an ADA who said she was following up on the criminal case:
from last fall - when CL was punched in the face by a stranger. Read

|CVTC - | suggesed | make another referral but CL declined for now. |

 

 

“7/10/2013:

send them. CL advised she was no longer receiving services from L oe

KT s/w CL and discussed current issues. CL stated she received a

CL my notes from my phone call to Det. Galan. She requested |

 

lInfo-Legal
call from an ADA who said she was following up on the criminal case.
from last fall - when CL was punched in the face by a stranger. Read}

 

 

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Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 2 of 55

 

 

 

 

 

 

 

 

 

 

 

 

ICVTC - | suggesed | make another referral but CL declined for now. |
Gave emotional support.

 

7/10/2013)

KT sfw CL and discussed current issues. CL stated she received a

CL my notes from my phone call to Det. Galan. She requested |!
send them. CL advised she was no longer receiving services from
CVTC - | suggesed | make another referral but CL declined for now.
iGave emotional support.

~info-Other
icall from an ADA who said she was following up on the criminal case:
from last fall - when CL was punched in the face by a stranger. Read |

 

~ 7/10/2013

IKT s/w CL and discussed current issues. CL stated she received a
call from an ADA who said she was following up on the criminal case
ifrom last fall - when CL was punched in the face by a stranger. Read
CL my notes from my phone call to Det. Galan. She requested |
send them. CL advised she was no longer receiving services from
CVTC -! suggesed | make another referral but CL declined for now,
Gave emotional support.

ICrisis

Counseling

 

7/10/2013

KT rec;d message from CL requesting reminder on the conversation
| had with Det. galan in December of last year.

Follow Up |

 

7/10/2013

KT s/w CL and discussed current issues. CL stated she received a
call from an ADA who said she was following up on the criminal case

CL my notes from my phone call to Det. Galan. She requested |
send them. CL advised she was no longer receiving services from

|Gave emotional support.

CVTC - | suggesed | make another referral but CL declined for now.

jCounseling
from last fall - wnen CL was punched in the face by a stranger. Read

 

7/16/2013

KT rec'd message from CL stating she met with ADA today and they |
want to move forward with the charges against the man who
assaulted her last fall. CL gave ADA my contact information.

linfoLegai

 

_7/16/2013

KT left message for CL

Follow Up

 

7/16/2013

KT rec'd message from CL stating she met with ADA today and they
want to move forward with the charges against the man who
assaulted her last fall. CL gave ADA my contact information.

|Follaw Up

 

| 1/17/20141K

KT rec'd message from CL - unable to hear ner new number

_ [Follow Up

 

1/23/2014

KT rec'd message from CL re: needing to file for an OP against
{Raheem.

| [Follow Up

 

1/24/2014}

KT called CL and left message advising that | thought an OP would
be challenging. Advised | will not be in on Monday but to call the
helpline to process options for filing for an OP if that's the direction
she wants to go in. Otherwise, call me Tuesday.

\Info-Family
iCourt

 

 

~-4/24/2014/k

KT called CL and left message advising that | thought | an OP would
be challenging. Advised | will not be in on Monday but to call the
helpline to process options for filing for an OP if that's the direction
she wants to go in. Otherwise, call me Tuesday.

Follow Up

 

~ 4/24/2014

 

 

KT called CL and left message advising that | thought an an OP > would

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Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 3 of 55

 

 

 

 

 

 

“be challenging. Advised | will not be in on Monday but to call the
‘helpline to process options for filing for an OP if that’s the direction
{she wants to go in. Otherwise, call me Tuesday.

 

 

Follow Up

 

 

 

 

 

 

 

 

ADA wants to move forward on the criminal case but needs to speak
with Cl's friend who she spent the night with. CL has asked her
friend to contact the ADA but he won't reply. CL asked if | would
reach out to explain the role of a witness and assure friend he wont
get in trouble. Advised CL that | could speak to her friend about the
role of a witness but not assure him of anything as | do not have that
knowledge myself.

2119/2014 KT rec'd BCC’ d email from CL to ADA Reichfelder re: moving
TOOTaKT replied to CL's email inquiring about the case w/ DANY iInfo-Legal
2/20/20141KT rec'd message from CL Follow Up
2/20/2014iKT called CL back and left message re: following up on criminal Follow Up
2/20/2014{KT replied to CL's email inquiring about the case w/ DANY Follow Up
2/20/2014{KT called CL back and left message re: following up on criminal Info-Legal
court issue w/ DANY
_ 2/24/2014)KT called CL back and advised
2/24/2014iKT s/w CL and discussed current criminal case. CL advised that the |Info-Legal

 

2/24/2014

KT siw CL and discussed current criminal case. CL advised that the
ADA wants to move forward on the criminal case but needs to speak
with Cis friend who she spent the night with. CL has asked her

ifriend to contact the ADA but he won't reply. CL asked if | would
{reach out to explain the role of a witness and assure friend he wont
iget in trouble. Advised CL that | could speak to her friend about the
jrole of a witness but not assure him of anything as | do not have that
knowledge myself.

Follow Up

 

2/24/2014

leave a message

KT rec'd email from CL advising that my VM is full and she can't

Follow Up

 

2/24/2014

KT rec'd email from CL requesting | reach out to the ADA on the
case to inquire why they haven't moved forward

Follow Up

 

2/24/2014

KT rec'd email from CL requesting | reach out to the ADA o on 1 the :
case to inquire why they haven't moved forward

] ‘Info-Legal

 

2/24/2014|K

KT s/w CL and discussed current criminal case. CL advised that the

{ADA wants to move forward on the criminal case but needs to speak |
with Cl's friend who she spent the night with. CL has asked her |
lfriend to contact the ADA but he won't reply. CL asked if | would

reach out to explain the role of a witness and assure friend he wont

jget in trouble. Advised CL that | could speak to her friend about the
jrole of a witness but not assure him of anything as | do not have that |

 

knowledge myself.

‘Safety

Planning

 

 

1/22/2015|KT called CL back - “she. is on 1 the pther line - will call me right back

 

Follow Up

 

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Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 4 of 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

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~"4/22/201 5]

KT rec'd message from Eee

 

|Follow Up

  

 

6/22/2015)

CL called SPs direct line: CL claims to have been calling connect CL
but no one has gotten back to CL; SP explained to CL the

CONNECT protocol in terms of HL; SP apologize to CL with regards
belief that CONNECT had abadon her; SP explained changes
CONNECT is undergoing; SP discussed case with SM/CC; SP will
follow up with QW/SM/interm attorney on what to do next on the
case- CL wants records

Follow Up

 

6/22/2015

CL called SPs direct line; CL claims to have been calling connect CL
but no one has gotten back to CL; SP explained to CL the

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Crisis
Counseling

 

6/22/2015

 

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Info-Legal

 

6/22/2015:

CL called SPs direct line; CL claims to have been calling connect CL
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lbelief that CONNECT had abadon her; SP explained changes
CONNECT is undergoing; SP discussed case with SM/CC; SP will
|follow up with QW/SM/interm attorney on what to do next on the
|case- CL wants records

|CONNECT protocol in terms of HL; SP apologize to CL with regards |

PA-Other

 

 

6/22/2015 |g
_{CVTC staff member

SM has held conversation about CL and what do to with ¢ case = with

 

~ PA-Other

 

 

 

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Exhibit AA

 
 

 

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0728121118 jpe Page 1 of |

 

https://mail.google.com/_/scs/mail-statie/_/js/k=gmail.main.en., VIOFZt1U7Q.O/m=m_i.tit/... 5/9/2016

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 7 of 55
0728121119 .jpg Page | of |

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https://mail.google.com/ /scs/mail-static/_/js/k=gmail.main.en._ VIOFZt1U7Q.0/m=m_i.tit/... 5/9/2016 |
Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 8 of 55

Exhibit BB

 
 

. APR-21-2013 OO230 NYPD 18ST Ptr

 

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CIIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEN? YORI

THE PEOPLE OF THE STATE OF NEW YORK

 

MISDEMEANOR

~a gain St-
Rami Baly (M 34),

Defendant.

 

 

Police Officer Jessica Vaile, Shield 298 of the Ist Preciner, states as follows:

The aefendant is charged with:

1 PL 140.10) Criminal Trespass in the Third Degree
(defendant #1: 1. count)
2 PL 245.00 Public Lewdness
. (defendant #1:°1 count)
3 PL 245.01 Hixposure of a Person.
kc efendans Hii Lgount)

On or above April 20, 2013 at abour.8:22 PML, at 64 Fulron Street in the County
and State of New York, the defendant knowingly entered and remained inlawifally in a

building and upon real property which was fenced and otherwise enclosed in

P.00g

Page Lot 2

 

a PYULELer

designed to exclude intruders; Fhe defendant intentionally expiosed the private. parts. of his
body in a lewd manne~ and cdimmitted a lewd act in a public. place arid in private premises in

which he: might xeadib; be observed from a public ‘place with intent chat he be so

observed:

the defendant appeatad 4 in.a public place in such a mariner'that the private parts of his body

were exposed.
The facttal basis for these charges are as follows:

1am informed by Kristyn Abbale, of an address known to the District
Office, thar the informant tives in an adjacent building to the above location an
saw the defendant on cop of the roof of above building buildisig looking into her

window with his pent exposed and manipulating it ian up and cdowa manner,

I arrested thic defendant on the tooftep of the aljove ‘building which is

beyond a posted sign that reads in part "Don Not Enter. Only Authorized Personel.”

Attorney's
that she
apartment

a location

The defendant provided contradictory statements and stated in substance that he

worked in the building but then stated that he ‘did not live in the building and th

only trying-to do his liandry.

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CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK
THE PEOPLE O1 THE STATE OF NEW YORIC

-against- . MISDEMEANOR |

Bami Baly (M 34),.

Defendant.

 

False statements made in this written ingtrument ate punishable as 4 iclass A
misdemeanor pursuant to section 210.45 of the Penal Law, and as other crimes.

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Police Officer Jessica Walle Dite \ Time |

 

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Page 2 of 2

 

 
 

 

  
 

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RECORD OF COURT ACTION _

 

 

 

 

 

 

 

 

 

 

  

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Page 13 of 55

 
 
 
 

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O Defendant O Defendant CG mt ready
O Attorney O Attorney O & not ready

 

 

 

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‘Reason:for ‘Adjournment

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Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16
Criminal Court of the City of New_York

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The People of the State of New York

“Page 14 of 55

 

New York County
Misdemeanor Complaint

Xt few

 

vs.
e ok
DEFENDANT: \)k: V oh CHARGES: NOCKFT NUMBER:
Rami Baly PL 140.10(a) ee
M13635565 04/20/2013 20:22 PL 245.00 103 1508 bea
PL 245.04

765 AMSTERDAM AVENUE
MANHATTAN NY

 

 

 

 

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Screener: TEMPLE, TEMPLE - TB6&0

 

Noticed Served at Arraignment:
Statement
Identification

 

ee 740.30(1)(A) -

CPL 710.30(1)(B) -
L] CPL 250.20 - Alibi
{] PL 450.10(48 hrs /15 days) - Property
(] CPL 170.20 - Grand.dury

C1} Cross Grand Jury
[] OTHER:

   

pperting Depasition

   

Needed Fo

   
 

CTDMV Abstract CJ
[] Lab Report/ Field Test |
() DW! Paperwork Cl
[] Domestic Incident

LJ Family Registry”

CJ Underlying T.O.P. |

   
   

Adjournment: A
Part: Date: 2p
Bail Condition;
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(Ins. Co. Bond) (CA sh)
LC] ART 730 Exam Ordered
CJ Protective Custody

[_] Medical Attention

C] Psychiatric Evaiuation

[_] Suicide Watch

L_] Deemed an Information
Defense Motions Due:

(Other)

CJ T.0.P. / F.0.P,

 

 

Disposition:

CO ACD - GPL 170.55.
[7] ACD - CPL 170.56
L] Waives Prosecution by Information
and Pleads Guilty-to
PL 240.20/
CJ Investigation & Sentence Ordered
[} DNA -Eligisfe Misdemeanor
CDNA Sample Taken

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1

 

 

Sentence (or Promise):

days jail
Conditional Discharge:
Days Community Service
: Days Jail Alternative
Other:
Mandatory Surcharge (and CVAF}:
(-] Judgment Entered - All Fees
[] $200 Misd. [] $120 Vict. [7] $80 VTL*

C] $395 VTL1192 Misd.* [1] $255 VTL1192(1) Infrac.*
*(For offenses on or after August 1, 2008)

_] $50 - DNA Fee

 

 

 

 

Arresting Officer

Court Reporter

_Date Part

 

JESSICA VALLE

 

 

Ana WON M.STALIMAN _|

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AR-4

 

 

 

Judge:

RPT.J. MARTINEZ

 

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Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 15 of 55

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The People of the State of New York

Criminal Court of the City of NewYork
New York County
Misdemeanor Complaint

  

 

 

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DEFENDANT: ak \ helt CHARGES: ROCKET NUMBER:
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Notices Served at Arraignment:
Statement
identification

 

wot 710.30(1)(A) ~
CPL 710.30(1)(B) -
L] CPL 250.20 - Alibi
[J PL 450.10(48 hrs /15 days) - Property
(J CPL 170.20 - Grand.Jury

C1 Cross Grand Jury
LL] OTHER:

 
   
 

Needed Fo

   

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FNOMV Abstract

[] Lab Report/ Field Test
(] DW! Paperwork

(-] Domestic. Incident

L] Family Registry

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Adjournment: 2

   

 

Part: Date:
Bail Condition: 0 6)
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E] ART 730 Exam Ordered
_] Protective Custody :
L} Medical Attention
L] Psychiatric Evaluation |
L] Suicide Watch

 

Defensé-Motions Due:

[1 T.0.P, / F.O.P. |

 

 

Disposition:

C1 ACD- CPL 170.55

[J ACD - CPL 170.56

CL] Waives Prosecution by Information
and Pleads Guilty to
‘PL 240.20/

CJ Investigation & Sentence Ordered

LC DNA -Eligible Misdemeanor

[_] DNA Sample Taken

 

 

Sentence (or Promise):
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Conditional Discharge:
Days Community Service
Days Jail Alternative
Other:
Mandatory Surcharge (and CVAF):
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L] $395 VTL1192 Misd.* [1 $255 VTL1192(1) Infrac.*
*(For offenses on or after August 1, 2008)

 

L] $50 - DNA Fee

 

 

 

Arresting Officer Court Reporter

Date Part

 

JESSICA VALLE

 

 

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Judge:

RPT.J. MARTINEZ

 

04/21/13

 
Case 1:15-cv-05871-KPF Document 16-5 Filed 05/09/16 Page 16 of 55

Exhibit CC

 

 
 

 

From: Gracie [mailto:qracieqracie212@qmail.com]
Sent: Monday, July 28, 2014 1:10 PM

To: Pennington, Hannah (FJC)

Subject: RE:

Hannah;

I'm growing discontent day by day at the lack of services available to me as | have been blacklisted
from using the FJC.

Employment: despite attending the meeting at FEGS and providing my very solid employment
credentials to your contact @ FEGS I've never heard back from them about employment workshops,
job leads or fotlow up AT ALL.

HOUSING: the little raggedy SRO | moved into to stay off the streets has incurred ten violations from
the Housing Commission that include no heat-no hot water- gaping holes to sky in roof. | have had to
report my neighbor twice for assaults against my person. He is mad because | rebuff his sexual
advances. Its really a dangerous nightmare living here.

PUBLIC ASSISTANCE BENEFITS: my case has been closed ten times because HRA still has a
“General delivery" address for me in their system and | don't get mail they send me about mandatory
recertification meetings et al. This is odd because | receive housing assistance checks for my
fandlord- HRA know the correct address- they just continue to send mail to the “general delivery”
address at the post office on34th st! | have requested ten times this be updated but it still hasn't. Each
time my case is closed | call the Fair Hearing office and they check and see that the letters have been
sent errantly and they reinstate my case and | have to wait additional weeks each time for my

benefits. This is a ridicclous waste of everyones time and | need my benefits to survive. Without my
Asthma medication | cannot breathe and | cannot even affford the co pays as HRA keeps messing with
my cash assistance and cancelling my Medicaid.

PSYCHOLOGICAL SUPPORT: LET'S JUST SAY I'M COMPLETELY AND UTTERLY ALONE AND MY C-
PtSD is not improving with all these stresses and obstacles.

Please EF need help. Its ridiculous that because a group of people within the MDAO made egregious
errors and illegal actions against me that | SHOULD STILL BE MADE TO SUFFER WHEN THERE IS
HELP AVAILABLE @ YOUR CENTER.

| AM A FOURTH GENERATION DAUGHTER OF THE CITY OF NEW YORK AND THIS TREATMENT BY
CARPET BAGGING OFFICIALS NOT FAMILIAR WITH THE COMPLEXITIES OF CITY LIFE SHOULD NOT
BE ALLOWED TO HOLD SWAY OVER RESOURCES THAT MY TAX DOLLARS AND MY FAMILY'S TAX
DOLLARS HAVE BEEN PAYING FOR FOR OVER A CENTURY AND A HALF.

I'm going to start being very vocal about this. Please I need help. There is no reason | should keep
being punished for the mistakes made by people on the payroll of the MDAO.

"Pennington, Hannah (FJC)" <HannahP@fienyc.org> wrote:

> Sorry to hear that.
>

 

 
 

 

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>

> Hannah Pennington

> Executive Director

> NYC Family Justice Center, Manhattan

> Mayor's Office to Combat Domestic Violence

> 80 Centre Street, 5th Floor

> New York, NY 10013

> (212) 602-2828 Direct | (212) 602-2800 Main hannahp@fjcnyc.org |
> www. nyc.gov/domesticviolence

>

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>

 
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Exhibit DD

 
 

 

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October 1, 2013

Ms. Kelly G. Price

New York, NY

Conviction Integrity Program
New York County District Attorney’s Office

One Hogan Place

New York, NY 10013

Dear Madam or Sir:

I would like to request that you carry out a preliminary review of a conviction metted out to me,
Kelly Price, for disorderly conduct on 10/19/1012 arising from an incident which occurred on
09/24/2011.

The docket # is:
Ptease find enclosed log books, video tape and audio tape and photographs for your review.

[. OnSeptember 24, 20111 was propositioned by a man at a bar and | rebuffed his advances. The
gentleman as it turns out was the owner of the bar and was upset at the way | turned him down.
He put his hands on me and | told him he had no right to touch me. The spat escalated and he
had his bouncer grab me and throw me out of the bar injuring me as | was tossed through the
door. My chest was sore and beginning to bruise and i know NO ONE is allowed to put their
hands on me so I called the police to report the incident {see video inside bar).

2. When the police arrived the lead officers ignored me and marched into the bar to talk to their
buddies (apparently the bar is only a block away from the 14" pct. and they frequent the place).

3. Without listening to my side of the story the officer in charge, Matthew Winters, told me “to
keep it moving” that he wasn’t doing anything to record the menacing, assault, and harassment
| had just encountered. | told the officers they are not allowed to refuse to take my 61 report
and that | would be making CCRB and IAB reports about their misconduct and callous regard for
my safety. | was upset and | turned to walk away | was crying and I said to the officers: “Ya'll
don’t help anyone ya'll should go fuck yourselves.” {see video outside bar)

 

 
 

 

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4. | proceeded two steps away from the group of four cops and from behind me and without
warning Officer Winters tackled me to the ground by kneeing the back of my right knee and
forcing me to collapse. He also grabbed my upper arms so hard literally each of his fingers made
a bruise in my flesh. You can make out his handprints in the flesh of my upper arms (see
attached photos and the bruise in the back of my right leg among others see exhibits 8, 9 and
10.)

| woke up hours later in a jail cell literally covered in bruises with officer Winters standing over
me. He told me that | was arrested for disorderly conduct and that he had gone through my
purse and found a few small dime bags of weed that | had as well as several condoms. He said
that he was throwing the weed out as a favor to me and expected me “to do hima favor in
return,” He suggested that | don’t report my injuries incurred during arrest and that “things
would go in my favor.” He also asked why | had so many condoms. | told him | was headed to a
swinger’s party that evening and he informed me he could have me also arrested on suspicion of
prostitution and intent to distribute marijuana but that he was “being a nice guy.” I listened to
him with doubt and astonishment as | rubbed at my swollen wrists, hands and several dozen
bruises all over my body. | was furious. Since when does a woman in NYC who calls the police
for help B/C SHE has been harmed wind up incarcerated and beaten by the cops responding to
her call for help?

ADA Kenya Wells caught the case. At that time another drawn-out case maliciously filed against
me by Mr. Wells was pending over me. Mr. Wells kept insisting that | had made false reports to
the police about my ex-boyfriend, Raheem Powell who had been beating me and subjecting me
to economic, emotional, and physical abuse. | was charged after | went to the police for help to
get him away from me because of my ex's relationship with the precinct as a confidential
informant. He was a key witness in a murder, an attempted murder and several gang-related
cases that were in-motion already so the police and Mr. Wells threw me to the wolves instead of
assisting me at the darkest, bleakest, most helpless moment in my life. That case against me
was eventually dropped after | stood in court for two years with the scars on my body burning
under my dress as | repeatedly was called a fabricator in the I-DV court part. Mr. Wells had
already made poorly-investigated conclusions about my other case (again similar scenario with
him—no investigation just jumping to conclusions based on his own gut}. Eventually that case
was dismissed and Sealed after | rejected every offer Mr. Wells through at me to try to cover up
his errors. Mr. Wells had a special vendetta against me because he was forced to drop the
(329 incorrectly charged and malicious) charges he had filed. When it came time for trial for
my disorderly conduct case Mr. Wells was prepared to do whatever it took to win: his
reputation and his personal vendetta against me, a domestic violence survivor, a 911 survivor,
and a 4" generation New Yorker was at stake.

SETTING THE SCENE: September 24, 2011 was an emotional time for me. It was shortly after
the ten-year anniversary of the 911 attacks that | had survived by running for my life away from
the towers and everything | had built for myself had subsequently unraveled around me
because of the ineptitude and hubris of this young, untrained, sloppy District Attorney who had
thown me in Rikers island on Mothers’ day after | miscarried my child and turned my life upside
 

 

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down. {| had spent all weekend with a friend of mine, Lewyn Pogue, a member of NAVY SEAL
TEAM 6, who was in town to swim in the “Little Red Light house Race” to raise money for the
families of his friends who had died in an horrible attack on their helicopter in Afghanistan
earlier that summer. It was the deadliest attack to date in that war and our emotions were high.
| had been crying all day for the most part. | had nothing left inside of me. | wanted to sit down
and have a drink quietly somewhere before moving on to a party that night. Coincidentally the
cops were twitchy. The entire city was on red-alert because the Occupy Wall Street marchers
had violently clashed for the first time that morning with police and many members of the 14"
pct. had been involved in crowd control. The cops were agitated and twitchy. The bruises
literally covering my body were a by-product of their sour mood. Lewyn can testify to the fact
that | had nary a bruise on me when he left me half an hour before | strolled into the Stitch bar
on W 37" st where | was assaulted. | had also had dinner at a place in Midtown | go to often and
the bartender can also aver that | had nary a bruise on me while she served me my Cobb salad
and coffee. I’m happy to provide you this information should you need it.
Mr, Wells didn’t even investigate the case: My Lawyer, Benjamin Dell from Legal Aide, spoke
with Mr. Wells after the arrest and before my first court appearance. Mr. Wells didn’t know that
| had called 914. He said to my lawyer that in fact the incident had happened because the police
had come upon me screaming and simply arrested me. When my lawyer, Benjamin Dell,
suggested to Mr. Wells that there are 911 calls of my calmly requesting for police assistance Mr.
Wells seemed panicked. He was also informed that there were video cameras all over the bar
that would corroborate my story and it was suggested that he drop the case because the police
had beaten me badly and | was a woman who had called them for help. Mr. Wells refused and
scrambled to try to reconcile the way he wanted to paint the events of the evening to get a
conviction. He knew he couldn’t prove that a crowd had gathered or that | had blocked traffic |
on the sidewalk if the video was shown at trial. He then embarked on a campaign to keep the
video tapes of the events from surfacing. Please pull the Part A transcripts for the case and pay
careful attention to how many times Mr. Wells argues with the judges (on more than one
occasion) about the lack of necessity of attaining the video tapes. In one instance Judge
remarks that she is surprised that Mr. Wells didn’t already have the tapes in his
possession and that he doesn’t fee] they are relevant! Isn’t it the DAs DUTY to investigate? Isn’t
failing to do so an egregious error that allows for the breakdown of prosecutorial immunity? Is
this not being taught to young ADAs in the Manhattan District Attorney’s office? We (Mr. Dell
and I) had asked the bar for the tapes and they had refused. Instead we subpoenaed them from
the CCRB as | had made a CCRB complaint as soon as | was released from jail. Graham Daw at
the CCRB can attest to the fact that the bar sent over edited versions of the video tapes first that
omitted all interaction | had with the police outside the bar. Why would the bar do this?
Someone needs to ask the owners of Stitch bar if they were instructed by the police or by Mr.
Wells to do so when they have to answer under sworn testimony. Eventually the correct tapes
were sent to the CCRB and Graham Daw on passed them to the court. This caused MUCH
consternation, huffing, puffing and pouting at each new court date when they didn’t appear and
Mr, Wells wanted to press on for trial. Surprise: the tapes were mysteriously LOST in the
courthouse for months after they arrived. Please note the court transcripts where My lawyer

 

 
 

 

10.

1.

12.

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asks for a delay in trial until the tapes can be found by the Part A clerk and please note Mr. Wells
insistence that the trial go forward without the tapes. The judges kept asking Mr. Wells why he
had not pulled the tapes to begin with and Mr. Wells simply kept averting the questions. The
plain truth is that he HAD to have already pulled the tapes and they did not corroborate the
Police’s version of the story that would allow him to take me to trial and justify his pursuit of the
case against me so he tried to keep them out of our hands and the hands of the court. He
stated MANY times on record that he had never seen the tapes. | would be very interested if
your conviction integrity officers can compare records of when he got a hold of the tapes at the
DAs office and then compare that information with Mr. Wells’ statements in court. He claims
the first time he saw the video was in late Sept/early Oct of 2012. I sincerely doubt his honesty
concerning his statements to this effect.

In each of the three interviews the CCRB conducts with three of the four officers who
responded to my 911 call there is a different story told than the manufactured, glossed,
coached and clean version that Mr. Wells helped the officers recapitulate on the stand at trial.
Please listen to each of the interviews. Not one of the officers states that | raised my voice and
screamed at a level 10 out of 10 being the loudest a human voice can possibly make during their
CCRB interviews. In fact the officers don’t even recall what | said as | walked away from them.
But MAGIC! -when Mr. Wells called them to the stand they ALL say that | screamed “FUCK YOU”
at the top of my lungs to the cops. How strange: magically over a year later all three cops’
stories changed and were consistent! There must be a magic memory pill in the water at the
80 Centre Street witness lounge! A few weeks after the incident when the officers were
questioned by CCRB inspectors there was not a narrative consensus about what | said or how |
said it but overa year later at trial all of a sudden each officer magically remembers that |
screamed at the top of my lungs “fuck you?” I find this incredulous. None of the log books of
the officers reflects that ! screamed aloud or even recounts what | said. One would logically
think that this information had it really occurred would have been recorded in the log books OR
remembered in the CCRB interviews.

The fourth Police officer, a young, Caucasian, female officer was never interviewed or called to
testify. We need to get her version of the story. Her name was Officer

The video tapes show that a crowd NEVER gathered to witness “the spectacle | [sic] was
making.” Please review. The cops all say different-sized clusters of people were standing just
out of camera sight in their CCRB interviews in different places. NONE of their statements to
the CCRB is consistent with what they claimed at trial. Please make note of time-stamps: xyz on
the video tape and abc on the cerb interviews.

The conviction revolved around Mr. Wells’ LIE about the tone of my voice. He coached the cops
to say that | screamed at the top of my lungs at a level TEN (being the loudest a human voice
can possibly make according to Wells). Never had the cops made this statement before to any
interviewer of the CCRB or in their log books. The reason Mr. Wells had to coach the cops to LIE
is this is the only way he could win the case. This is why he didn’t want the video tapes
introduced inte evidence. He did not want to have to suborn perjury but was forced ta do so to
 

 

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win the case and tried everything in his power to avoid this. There simply is no other
explanation for his reticence in presenting the tapes to court.

13. | was convicted of TWO counts of disorderly conduct as one was for allegedly screaming and one
was for making an obscene gesture but never in court did anyone mention that | made an
obscene gesture in their logs, in their CCRB interviews or at Trial. This count should most
certainly be dropped because it was never proven. Instead it was merely just bivouacked onto
the other charge without any lip-service whatsoever.

14. Mr. Wells started his statements at trial by alleging te the judge that | am a “fabricator” and
that | had hundreds of criminal charges filed against me because of this false fact. He was so
hell-bent on making me appear to be a lying fabricator that he asked his colleague, ADA
Bernard, to decline to prosecute another man who had hit me outside of a bar on July 28, 2012
shortly before my tria! date. That man went on to assault, stalk, masturbate on, and trespass
against several other women in town BECAUSE HE WAS not punished for his acts against me.
Please look up this criminal: Rami Baly. ADA Richendorfer is FINALLY prosecuting him OVER a
full year later for his crimes against me because | made complaints to the DOI, the IA8, the State
Attorney General, Senator Gillabrand, Councilwoman Quinn, Councilwoman Dickenson, the
Mayor’s office, the Borough President, the Public Advocate, and the New York State Bar
Association about how my right to equal protection under the law had been stripped from me.
Mr, Wells couldn’t have me appear as an innocent defendant in the same courthouse at the
same time he was trying to paint me as a crazy fabricator in front of the judge to wina
disorderly conduct conviction. So Mr. Baly was set free instead to punch NYPD officers (he
was arrested a month later for assaulting an officer, arrested in November of 2012 for lewd
acts on an Amtrak train, arrested in March of 2013 for trespassing and stalking, again in May,
again in June and again in July of 2013, Conveniently Mr. Wells aided and abetted Mr. Baly in
his crime spree against other women in the City of New York by tricking his fellow colleague
into declining to prosecute Mr. Baly so that he could paint me as ugly as possible on a fresh
courtroom canvas. Look: this is anathema. Re-read the above paragraph. Mr. Wells wanted
to win against me so badly that he had a colleague sit on a case against a man who clearly
needed to be under psychiatric care and have his dopamine levels regulated and monitored all
in the name of winning against me. Is this really a person you want in your office? This guy is
the JAYSON BLAIR of the District Attorney’s office and should be arrested himself for malicious
prosecution, obstruction of justice, tampering with evidence and suborning perjury.

| encourage you to research the facts of my case with a fresh perspective. | believe you will find many
illegal misdeeds and cover-ups along the way that Mr. Wells is responsible for. Make sure you have a
barf-bag in front of you while you investigate: Mr. Wells will make you sick.

These are the true facts of the case. Why would Cyrus Vance want this guy’s dirty work besmirching his
legacy and his office? Please get this guy.

 
 

 

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Exhibit EE

 
 

 

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February 2, 2015

Miss Kelly Price

534 w 187" st #7
New York, NY 10033
Via email

Mr. Jeff Schlanger

Chief of Staff

Manhattan District Attorney’s Office
80 Hogan Place

4" Floor

New York, NY 10013

Via email: JShlanger(@DANY .nyc.gov

Dear Mr. Schlanger:

Pm writing to provide comprehensive information, to make you aware and to PROPOSE A
PATH FORWARD out of the devil’s cauldron of gross negligence, deliberate malice, outright
unprofessional, unethtcal and illegal activity taking place in the Manhattan District Attomey’s
office (and vis a vis “collaboration” within the NYPD at the direction of the MDAO) towards
innocent crime victims seeking assistance/justice. The following is a brief regarding the handling
of me as a victim of domestic violence, the deliberate pattern of denial of services unhanded to
me as a victim of Domestic Violence and as a victim of street assaults in NYC and the continuing
problems I’ve encountered with the MDAO and the NYPD in the wake of being falsely branded a
“fabricator” when not one official sought to investigate the true facts of my complaints.

-The MDAO never investigated my claims of abuse. No one interviewed neighbors, had
me sign HPPA forms, reviewed photos of injuries I sustained during battery, or even
called me to ask about my complaints until MONTHS after I was accused of harassing
my batterer by allegedly making false complaints of abuse, arrested, arraigned, charged,
incatcerated in Rikers and had my constitutional rights violated.

-As I was labeled a “fabricator” I ended up on a “‘do not service list” kept by the
NYPD/MDAO of persons whose complaints are not to be addressed by the police.

-My batterer is still walking free. Why?

-How many other women are denied services like welfare assistance, counseling and
relocation/housing which are “signed-off’ on by Family Justice Centers around the city
that are literally embedded in DAs offices in each borough because they are dubbed
“fabricators” without anyone ever investigating her/his/its claims? How many other
women are DENIED access to the FIC services as I have been/still am?

-Because of my status as a “fabricator’ in the eyes of the MDAO OTHER WOMEN IN
NYC WERE STALKED, ASSAULTED, MASTURBATED ON, PREYED UPON AND
HARASSED BY at least ONE MAN THE MDAO REFUSED TO ARREST FOR

 

 
 

 

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CRIMES AGAINST ME.

The following information is broken down into five categories:

L Introduction/brief outline of events
Il. Rough timeline of events involving violence against me by Powell

HL, Events that led to the filing of Federal Civil Rights/Department of
Justice, CCRB, IAB, DOT and OIG complaints vs. the MDAO and
NYPD and details of those incidences.

TV. Details of attacks on my person that the 28th precinct and other
precincts in town refused to follow up on because they were told
by the MDAO that I was no longer entitled to Police Services

Vv. Moving Forward: the MDAO and Miss Price, the Business of
Photojournalism in NYC and the way forward.

I. Introduction/Brief Outline of Events

os

a. My Birthname is Kelly Cathleen Price. I Go by GRACE: my beloved
Grandmother’s name. She was a great New Yorker and when this episode in my
life is over I plan on changing my name.

My S5# is XXX-XX-XXXX

My DOB is 11/27/1970

Please find attached the final dispositions/Orders from NY Supreme Court to
dismiss and seal docket #s 20075-2011 and 20111-2011 (Exhibit #7) as well as
the original complaints against me (Exhibit #4 & 5).

I was Arrested on 5/6/2011 and 3/24/2011 by the 28” precinct and 9/24/11by the
14” pet.

On 5/6/11 I was arrested by Detective Samuel Fontanez, shield #00311 of the
028 Detective Squad and on 3/24/11 by various detectives inside the Family
Courthouse as I waited to appear in front of Judge Sattler to have my order of
protection against my batterer renewed and then handed over to detective
Flowers of the 28" precinct. I do not have Dt. Flowers’ shield # and neither does
the Pct. as he has since retired ([ was informed this by the dt squad when I called
to ask for the number for you),

T have included copies of emergency room reports and ambulance reports of
some/most of the injuries I sustained. I have also included a disc with images of
my various injuries incurred on my person from assaults by my batterer, Raheem
Andre Powell, his mother, Nancy R, Gaines and by members of the NYPD as
well as people on the street.

As a domestic violence victim I went to the authorities, specifically, the 28th Pct.
as I lived in that district, and then to Cyrus Vance's staff in the DA's office for
help. I began asking for assistance in the spring of 2010 and continued up until
the winter of 2011. I have a timeline with specifics detailing the interaction that I
can provide. Instead of anyone investigating my claims of abuse I was instead
falsely accused and charged with crimes as I was labeled a “fabricator” my

 

 
 

 

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complaints against him and communications I had with him were viewed as
hundreds as counts of aggravated harassment and I was imprisoned. I was
prosecuted by the Manhattan DAs office on 325 counts of aggravated harassment
and one count of contempt of court. The complainant is a man who battered me
for two years.

When I finally went to the police and the DAs office for help I was arrested
instead, they refused to investigate my claims of abuse, and I ended up
incarcerated on Riker's island regardless of the evidence in my favor: hospital
records, eyewitnesses, 911 calls, photographs, permanent scarring, records for
repairs of my front door and windows that were constantly being broken as he
attempted to gain access to me in my apartment et al. After approximately two
years of endless hearings in NY Supreme Court the DAs office offered me ACDs
on the counts which I refuse to plead to as my batterer was walking free without
a charge or restraining order against him. My civil rights have been violated in so
many ways: I feel strongly that the pain, humiliation and anguish caused me need
to be recognized. The people responsible for these malicious prosecutions and
false arrests should be held accountable. This is virtually a horror-film script
ripped from Hollywood: as an innocent crime victim when | turned to the
authorities in my darkest, most desperate hour I was cast as a pariah, a liar, and
as a femme fatale who allegedly injured herself in order to accuse her most
beloved of the same crimes that he actually perpetrated. You allowed my
batterer to manipulate the criminal justice system to continue his control over my
suffering. My abuser did this with the assistance of officers of the MDAO and
NYPD who willfully lapsed in their duties to investigate the circumstances of my
injuries.

If this has happened to me it can and has happened to other women and I want to
make sure it never does again.

The MDAC refused to investigate my claims of abuse: I have plenty of proof that
this disregard for the obligation to investigate occurred in my case. I received
call from DA Strohbehn on February 2, 2011. She told me I have “less than an
hour” to get downtown to her office regardless of the difficulty in travelling that
day as the city had been blanketed by a blizzard the previous evening. When I
arrived at her office she had me wait in the Safe Horizon office for over two
hours, When she greeted me she withdrew her right hand as I outstretched mine
to shake hers as is common in professional and official circumstances to do. She
led me brusquely down the hall of the 2™ floor she and Det. Simmons and
another Dt from the 28” pct pepper me with questions about how I came to owna
car, how I earned a living, and accuse me of answering my phone earlier in the
day “with a fake accent.’ They proceeded to call me a Itar and refuse to look at
any material I had that proved I was telling the tuth. ADA Strohbehn informed
me she was declining to prosecute Raheem, and informed me that if | make
another report against RAHEEM that she will ‘lock me up and throw away the
key,” She also informed the 28th precinct that she will personally handle all of
my “police service needs” and if ] have “a bullet-hole in my head that they are to
call her first before responding to any call from me.” She informs me that she
has already assisted Raheem in drawing up a Family Court petition to attain a
counter restraining order against me in order to press counter-claims of
harassment against me. She further instructs me that even though I haven’t been

 
 

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served that I am to show up in family court the next morning to respond to
Raheem’s charges. She tells me I will be charged with contempt of court if I do
not show up “as she as an officer of the court was ordering me to appear even
though there was no time to serve me with a subpoena (sic).” She tells me her
only concern is that “an innocent black man has been sitting in jail for 24
hours...” Task to speak with her supervisor to show her my proof and have my
neighbors interviewed etc. and Ms. Strohbehn informs me that “she already
checked with her supervisor (Audrey Moore} and that she has been given carte
blanche to deal with me with finality.” Iam instead thrown out of her office.
My landlord and others try to speak with Ms. Strohbehn to introduce
investigatory evidence and she rebuffs them (please see attached letters from
landlord, Adam Gargani, My neighbors Marilyn Benetatos et al about Ms.
Strohbehn’s and ADA Kenya Wells’ refusal to investigate.

1. The conduct on which [ base my complaints about the MDAO and NYPD includes (but
is not limited to):

a. stripping me of my First Amendment Rights to petition the Government
for redress of grievances

b. knowingly keeping me under unreasonable seizure for an elengated
period of time during my false arrest and drawn-out prosecution lasting
approximately two years (during which the seizure continued) denying me my
Fourth Amendment right against unreasonable searches and seizures

c. eschewing my Eighth Amendment rights by denying me police services
asserting excessive and unusual punishment

d. Denying my Sixth Amendment right to a speedy trial

e. Depriving me of my Fourteenth Amendment rights to not be deprived of life,
liberty or property without due process of the law

f. denying me my Sixteenth Amendment right to equal protection under the
law.

g. The Causes of Action include but are not limited to: Malicious
Prosecution, Intentional [nfliction of Emotional Distress, Abuse of Process, Actual
and Constructive Fraud, Negligent Misrepresentation, Denial of Due Process and a
Fair Tria) (under 42 U.S. C 1983), Deprivation of Liberty, Negligent Hiring,
Training and Supervision as the MDAO, the NYPD & the City of New York: (1)
unjustifiably denied me any police services; 2) refused to investigate my claims of violent
physical abuse (3) instructed for my arrest me without probable cause; (4) maliciously
prosecuting me for crimes against my batterer under the false pretense that I had made up
my claims of abuse (5) conspired to present falsified evidence to, and to withhold
exculpatory evidence from, a seated family court judge ((UDGE SATTLER) and seated
NY Supreme Court judge (JUDGE DAWSON); (6) deliberately suppressed material
evidence of the true nature of my status as a domestic violence survivor from the trial
file; and (6) manufactured evidence that | was a "Fabricator" who insinuated her own

 

 

 
 

 

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injuries on herself, 7) Thwarted my right to due process by insinuating I was in fact a
violent abuser and not a crime victim in open court. 8) Conspired to manufacture
evidence/perjury. -

2. J was arrested and charged with 325 counts of aggravated harassment and one count of
Contempt of Court as I sat in front of a family court judge (Judge Sattler on March 8,
2011) as I was trying to get a restraining order extended against my violent batterer. |
served between eight to ten days incarcerated in the tombs and on Rikers Island and years
repeatedly going back to court monthly--sometimes more often--to stand accused by a
system that should have been prosecuting my batterer: But he walked free. -

3. The cases against me were eventually ordered dismissed and sealed on July 24, 2012 by
the I-DV division of NY Supreme court I was never given an explanation as to why or
even permitted to stand in front of the judge and add something onto the record about my
disgust and despair at the way I was treated by the Police and the DA's office. My
batterer was walking free: everyone in my community was looking at me in strange ways
and distancing himself or herself from me. Others openly confronted me in the
neighborhood: I was assaulted by various people who had known my batterer for
decades who had heard swirling rumors fueled from the actions of the 28" precinct. For
two years the pallor of serious criminal charges hung over me: the threat of incarceration 7
for many years and the complete alteration of the life I had built for myself. I was not
about to take a plea that admitted any sort of guilt for crimes of any kind. I was the one
who had gone to the MDAO and the police for help.

4, J] feel strongly that the MDAO can choose to decline to prosecute a batterer if they don't
have enough proof to bring charges against him/her but this is not what happened in my
situation. They flat-out denied any investigation of my claims of abuse even though there
was plenty of evidence supporting my story. I have advocated for myself and had
representatives from the Mt. Sinai/St. Luke’s Roosevelt Hospital’s Crime Victims Center,
Connect NYC, Senator Gillabrand’s, Public Advocate Leticia James, and Council
Speaker Quinn and other Domestic Violence Advocacy groups review my case and lobby
on my behalf as well, There is a mountain of evidence and the Domestic Violence
community in town has been supportive of me. The ‘authorities’ never interviewed
neighbors (and even lied about this), never looked at or compared photos of my severe
injuries to hospital emergency room reports, and refused to collect/accept other evidence
such as 911 calls, receipts for repair work for broken windows or doors that have been
kicked down as well as other evidence that proves that constant battery had taken place.
They accused me of fabrication without even knowing or seeking to examine the facts
and then initiated an elongated, over-zealous, and incorrectly-charged criminal
prosecution of me based on the belief that I was a fabricator. This is anathema at best and
police/ prosecutorial misconduct at worst.

5. [spent tens of thousands of dollars defending myself and my life has been turned upside- [|
down as a result of the accusations levied at me. I have fallen into financial ruin, can’t
get a job and have a debilitating psychological disorder as a result of the battery and re-
victimization by the “judicial” system. I have been diagnosed with Complex Post
Traumatic Stress Disorder by Psychiatrists and social workers at the Mt. Sinai/St. Luke’s
Roosevelt Crime Victims Center where I have been in treatment for over two years and
by members of the James B. Zadroga 9/11 Survivors’. Federal Healthcare program at
Bellevue Hospital.
 

 

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Since the time of my troubles with the 28” pct. and DAs office I have been attacked
many times in NYC in various forms and each time I call the police I am told that I am no
longer entitled to Police services as per the edict of the Manhattan District Attorney’s
office. This is a violation of my 14" amendment rights to equal protection under the law,
my first amendment right to redress the government for grievances, and my fifth
amendment right to due process.

On several occasions I was beaten and went to the 28 pct. bloodied and bruised and was
told by desk Sergeant Agron at the 28" pet. that I was not allowed police services. The
DAs office has continued their posture that I am a fabricator even after charges have been
dismissed against me and continued to inform the NYPD not to take any complaint from
me in violation of my Constitutional rights. When I have been assaulted and complaints
have been made the DAs office has instructed the precinct involved not to pursue charges
against the perp. This has happened on numerous occasions notably: 6/3/2013, 5/17/13,
LO/17/12, 07/27/12: (incident #2012-020-2969 described above), 7/14/12, 4/17/12,
1/20/12, 12/1/11, 8/13/11, 8/4/11, 8/2/11. I can provide incident IDs that were never
followed up on, proof that the officers refused to even take a report, or Jaywalking tickets
issued to me for the latter date when officers from the 28" pet. engaged in outright
harassment of me (e.g. Docket Number 20138N053520 was dismissed on 8/27/2013).
Most frustrating is that the police have been instructed not to assist me or to prosecute
those who do harm to me. The 28" pct. constantly harassed me when they saw me in the
neighborhood. In June of 2013 I was en route to the train passing the precinct and the
detectives yelled out my name from the second-story squad window and then proceeded
to MOO at me as if[ am a Cow. Other times the cruisers pass me on the street and make
sucking sounds at me (insinuating sexual acts with their crude verbosity,) other times
they would pull their cruisers over and slap me with a jaywalking ticket even when I
wasn’t jaywalking.

The emotional pain and suffering from these events is overwhelming. I’ve lost
everything I worked for: most beloved was my personal identity, my career and my
sense of place in life. I was at one time trusted and loved professionally until my world
fell apart because of this mess. T more than anything want my name back and | want to
continue to do the good work I was producing. f struggled to build a beautiful life for
myself. Now I'm trying to put the pieces of my life together but nothing 1s easy and my
troubles seem to compound as time slips by.

1 would appreciate you taking the time to look over some of the links I've provided below
so you can get an idea of the high-level I used to operate at vs. where my life is now
because of the malicious mis-handling of my case. The links are to examples of news
production I did and to the kinds of people who trusted me with their lives. I ran the
world's top photojournalists in and out of war zones and covered top stories on all fronts
for the past decade. I had achieved a high level of respect and admiration based on trust
and love. Now muy life is literally in tatters, Credibility is key to the journalistic
community and the pallor of criminality still follows me as a result of the bad arrests and
prosecutions concocted for me between the NYPD and the DAs office.

 
 

 

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I began the careers of many journalists such as David Rochkind: his work on the drug
wars in South America spans a decade of reportage we produced together. The Guardian
just did a review of his book co-produced with the Pulitzer Center:

a. http:/Awww.guardian.co.uk/artanddesign/photography-blog/2013/jan/24/mexico-

drug-war-photographer-david-rochkind?intemp=ILCMUSTXT 9384
Scout Tufankjian was asked to be President Obama's White House Photographer after her
comprehensive coverage of his 2008 campaign. I was Scout's editor who stewarded all of
her work with the campaign: Scout even mentions me as the reason for her success when
interviewed on the Charlie Rose show:

a. http:/Avww.charlierose.com/view/interview/10026

b.  http:/Avww.scouttufankjian.com/#/yes-we-can---the-book
Photographers such as Max Becherer, Christoph Bangert, Johan Spanner and Mitchell
Prothere needed help getting into Iraq to work. I not only got them safely in and out of
the country hundreds of times I trained them on how to operate while there and
subsequently all became full-time freelance staffers at the NYT House in Baghdad
kicking-off their careers as war photographers.

a. hitp://maxbecherer.com/#/the-dark-days-iraq/01182013 Becherer IraqgDarkG01
Exclusive access inside the home of Benazir Bhutto in Pakistan while she was placed
under house arrest by the Pakistani government upon her return after years in exile a
week before her assignation:

a. http://www.time.com/time/photogallery/0,29307,1683694 1485358,00.html
I worked with Stephanie Sinclair who gained a never- before-seen intimate portrayal of
the family of polygamist Warren Jeffs for the NYT Magazine (Winner of National
Magazine Award for Best Cover Story, 2009)

a. http://www.childbrides.org/raid NYTimes children of God.html
Here are links to some of my 9/11 photos I took myself as I fled away from the falling
towers:
htto://digitaljournalist. org/issue0609/watching-the-world-change.html
htto:/Awww.amazon.co.uk/102-Minuten-erz%C3%A4hlte-Geschichte-
%C3%9Cberleben/dp/349225052 l/ref=sr_1 11?s=books&ie=UTF8&qid=1363704757&
sr=1-11
http:/Awww.nytimes.com/2001 /09/23/arts/the-aftermath-peering-into-the-abyss-of-the-
future. html
htip://www,time.com/time/magazine/article/0,9171,1053663,00.html
htip://www thetimes.co.uk/tto/news/uk/jubilee/article3 35313 1.ece
I worked with photojournalist Evelyn Hockstein on many stories including the origin of a
new deadly super-virus in Angola:

a. http-//Avww.nytumes.com/2005/04/1 7/international/africa/]7angola.html? 1:0
I positioned photojournalist Robert Stolarik in NOLA days before hurricane Katrina and
more than supported his efforts to document the events during and after the storm: We
won many awards that year and Robert's coverage secured him a staff position at the
NYT: http:/Awww.enypress.org/KATRINA/index.btml

 

There are literally thousands of other pieces I could show you but the above offers a
glimpse I think into the life of the person I once was before being cast as a pariah by the
people sworn to protect me. Please help me make sure this doesn’t happen to other
women in NYC and to help me move forward and try to restore myself the status I
occupied before the malicious arrests and prosecutions.

 
 

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T have been unable to attain work in my field of photojournalism because the MDAO
destroyed my credibility. The most valuable possession that an editor/journalist has in
this worl is HER CREDIBILITY. Nothing I can do myself will help restore me to the
status I enjoyed in the wake of the MDAO’s reckless, criminal, unconstitutional, and
malicious behavior towards me: an innocent crime victim.

I miscarried a child I was pregnant with by Mr. Powell in the Spring of 2011 and had to
suffer through incarceration at Rikers Island on Mother’s day.

I have a debilitating psychiatric condition (C-PTSD) as a result of the pain and suffering
foisted on me not only by Mr. Powell and his family and friends but also by a judicial
system hell-bent on ruining me.

I came to the MDAO and NYPD in 2010 about my situation as I was suffering severe
physical, mental, and economic abuse and instead of assisting me they chose to throw me
to the wolves and put me in Riker’s Island for alleged crimes of harassment I supposedly
purported against my batterer. When I went to the NYPD for help in freeing myself from
my batterer not one person in the precinct took the time to meet with me and review the
many pieces of evidence that I had proving that | had not fabricated my own injuries; the
stance the detectives in the 28 squad and the Manhattan District Attorney’s office took in
order to protect my batterer who was involved in several prosecutions they had already
set in-motion against other parties not associated with me.

My batterer (Raheem Andre Powell) enjoyed a privileged status with the MDAO and
NYPD as a result of several incidents: he had assisted in helping the police previously
and warmed me that I would be unable to find sympathetic ears regarding his violence.
More recently Powell had been a complainant in an attempted murder case wherein his
marijuana distribution hideout was robbed in December of 2010 by an armed member of
a central-Harlem gang. During that robbery Powell was shot at by the perpetrator as he
chased him up nearby Frederick Douglas Boulevard in front of the 28th precinct. That
young robber/shooter was key in unraveling knowledge about the “Goodfellas” and
“137th st” gang in Central Harlem which were ‘brought to justice’ under fanfare and
several public press conferences by the district attorney’s office. Powell also had
knowledge of other gang-related (Crips/Bloods) activities that involved the murder of his
cousin, Andre, in broad daylight on the corner of 115th and Lenox in the Fall of 2010
among other pieces of information he on passed to the police. As ADA Strohbehn at the
time was a junior member of an anti-gang task force in Harlem (See Exhibit # 18
Strohbehn Linked in Resume) I have a very hard time understanding why Strohbehn
was allowed to be the only ADA to evaluate the veracity of my complaints when it
was known that my Batterer was an active participant in one of her investigations
and clearly she would need to defend his credibility to assist in her *case-building
(*self-promoting career-building too.) Strohbehn after ‘cleaning up’ Harlem as a
Junior member of the anti-gang squad has been PROMOTED to now be the
SENIOR LEADER on a similar squad centered in MIDTOWN! (see Exhibit #18
Strehbehn linked-in resume).

My complaints as a battered intimate-partner against Powell fell on deaf ears at the 28th
precinct nearby to my former home on w. 120th st in Manhattan. | was caught up ina
miasma of legal posturing and wrangling as the DAs office made a case against me for

 
 

 

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hundreds of counts of alleged aggravated harassment I supposedly committed against
Powell (Exhibit #s 4 & 5) Without examining one hospital emergency room record,
speaking to one neighbor, examining the receipts I had for various broken windows,
kicked-down doors, or examining the photos of my injuries I was labeled a fabricator and
liar. Branded a pariah I was thrown into jail, miscarried the child fathered by Powell I
was carrying, and began suffering serious symptoms of Complex Post Traumatic Distress
Disorder. Everything | had worked for in my life burned around me as my credibility
was lost. My friends and neighbors looked at me with disdain and disbelief as swirling
rumors fueled by the actions of the police and DAs office gave people incredulous pause
whenever they confronted me. On many occasions I was physically attacked in the
neighborhood by people I knew loosely in the street.

II. Rough timeline of events involving violence
against me by Powell

30. August 2009—First Beating I suffered at the hands of Powell People I told about first

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incident and/or who saw bruises/marks on me after incident (I went to a party that night
with friends and was in shock still as the beating had taken place in the early morning):
Friends who attended Party: James Price-Newsweek Magazine: 718. 872.8544 or office:
212 445 4628 Paul Moakley (party thrower): Deputy Director of Photography, Time
Magazine: 646 379 0806 Brona Hatchette: Women’s Health Magazine: 646 667 7609

Fall 2009: LIreceive a visit from best college friend fram Mount Holyoke, Amy Carter,
from Seattle while she is in town on Business. She comments on how I live in fear of my
boyfriend: she is upset that even though she is taking me out to dinner I still have to
prepare meal for Raheem and that he calls me several times throughout dinner to check
up on me and question me jealously about my whereabouts. After her visit she sends me
a letter fearful of my circumstances, begging me to take a hard look at why Iam in
relationship and encouraging me to leave Raheem.

Amy Carter

The Bill & Melinda Gates Foundation

Senior Program Official, Private Grtts

Seattle, WA

206 709 3282

206 612 6496

206 691 1655

Beatings Continue through fall of 2009 and winter of 09/2010.
People who heard domestic disputes:
Tammy Grinder upstairs neighbor (646 228 1469)
 

 

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Jared Love (upstairs neighbor in #3—Landlord Adam Gargani has his contacts 347 237
0100)

People who called the Police when they feared for me b/c of Raheem:
(neighbor) NYC Public School Teacher. 646 320 6145
Tammy Grinder (definitely called police on night of 11/12—646 228 1469)

33. People who saw bruises/marks on me:

Neighborhood drivers from Harlem Transport—cab base around the corner:
Kalu 646 721 8592

Modou 347 751 4211

Dee and Marilyn; 347 203 2623

34. Neighbors:

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Brianne: ask landlord for number ex-girlfriend of Jordon Love (Adam Gargani is
landlord: 347 237 0100)

Tony: Photographer who lives at 231 w 120th apt #3: he took pictures when Raheem
would beat me: (212 729 7434)

Faisal: ask Jandlord for number—he and his wife have moved back to Iran I believe but
they witnessed Raheem punching me and preventing me from entering my home (Adam
Gargani is landlord: 347 237 0100)

Feliciano My building super; witnesses Raheem push me and hit me in front of my home
in the spring of 2010: (646 201 1096)

Marcel: the son of Maria Robinson. Lives at 232 w 120th #1 (cq)

Dee & Marilyn Benetatos: Owners and Residents of 231] w 120th st: witnesses bruises
on me on numerous occasions. 347 203 2623

Maria Robinson: Lives across street: witnesses Raheem Beating me on 12/20/2010 in
front of my home. Her son, Marcel, also saw bruises on me on numerous occasions
Maria died of Cancer in 2012)Todd Stevens: 212 350 8507 (my real estate broker from

-Douglas Elliman—encountered me covered with bruises in sept of 2010 @ 28th precinct

as I tried to make a police report about beating.)

February 2010: suffer massive beatings: sent to Emergency rooms twice back to back @
St. Luke’s and Metropolitan to treat ripped cornea/black eyes Have Emergency Reports
Archived.

March 2010: suffer fabric burns all over upper body from Raheem ripping my clothes off
as I tried to flee and dislocated shoulder. Photos of inyuries

April 2016: huge fight over Easter week. bruised badly-entire back and arms covered in
bruises: swollen jaw. sprained ankle.

Beatings continue whenever we fight throughout Spring of 2010

May/June 2010: call and visit 28th precinct multiple times to discuss how to get help.
Speak with young officer at desk: Officer Williams. (pretty, petite, Afro-American) she
witnesses bruises all over me and encourages me to make report. She warns me that he
will be locked up if I sign report. 1 beg her if there is a way to just give him a warning or
to help me just extricate myself from relationship. She says the onfy way Police can help
is if he is arrested. I leave station house without signing report.

 
 

 

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June 2010; Raheem attacks me with belt that is covered in metal bottle-caps. leaves
permanent bruises on me. Several people exclaim that my body looks as if it had been
run over by a truck. Dirk Caldwell VP of Sales at Black Enterprise witnessed belt marks;
347.865.5892

June 2010

kidnapped a raped at gunpoint by guy on long island named Ricky. I have address and
phone number still. Raheem indifferent—beats me up and blames me. J call svu and
discuss attack with female officer who tells me that I cannot make an anonymous report
to police. Raheem encourages me not to make report and he gets in shouting match on
phone with kidnapper. I have a longer brief about this incident that I have provided to
the OIGNYPD. J also tried to inform ADA Higgins nee Richendorfer about these events
in 2013 but she refused to take my brief. I have reported this incident to the OIG.

July 3 2010: Raheem attacks me as I leave my house to see friend Dirk J. Caldwell, SVP
of Sales, Black Enterprise who wants to take me to Carmine’s for dinner that evening.
He chokes me through my front gate and rips off my necklace and prohibits me from
leaving aedicule outside my front door. I have to call Police to get him to leave and
permit me to leave my home. Officers respond to 911 call. They encourage me to make
report—I decline as they say he will be arrested. officers Loor and Chan respond.

July-September 2016: multiple blow-ups: police called to home on many occasions in
response to my calls and other complaints by neighbors.

July-September 2010: multiple trips to station house to discuss situation with Domestic
Violence officers McNair and Diaz. I fill out several reports and don’t sign. Many
photos taken at precinct of my injuries. I discuss abuse with Officer Williams at the 2g"
precinct on multiple occasions. She is a beautiful, young, afro-American officer who sat
at the desk Sergeants’ desk. She is very sympathetic but adamant that there is no way
police can mtervenc unless I sign a complaint against him for felony assault.

September 2010: multiple calls to Police. Front Windows smashed and replaced several
times. Door kicked in, locks broken, locksmiths called. Locksmiths and glass companies
have records of damages and repairs.

October 11, 2010: Raheem tackles me and beats me in street at intersection of 118th and
st. Nicholas Ave (NW corner.) He beats me with his fists and cell phone and Police are
called. Police encourage me to make a combined report of stolen license plates, car, and
Domestic Abuse all n one. I’m not given copy of report. Police take extensive photos of
face, back and torso with bruises all over. Officers instruct parking garage,to not allow
Raheem to take my car out of garage. Raheem bribes parking lot owner and takes car
even though Police helped me remove one license plate and park suv in front of car.
Witnesses: Levertt (number above) and a girl named Jenn I know from the Dog Park
(can get her number) (Please see photos dated Exhibit #1 10/11/10)

October 14, 2010: (Double check date of desk appearance ticket issued me—day could be
one day later or earlier} Blackmailed and life threatened: dogs’ lives threatened by
Raheem. Says he will “ruin” me by telling ex colleagues and family private info about
me if he gets arrested for Domestic violence, if 1 leave him, or if I fail to pay his bills.

 

 
 

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Forced to go to precinct and ask for help. I explain to officer McNair and Detective
Simmons that I’m being blackmailed and Raheem is blackmailing me and if he gets
arrested everyone will know etc. Detective Simmons states the only way to dismiss
complaint filed without my permission is that she needs overtime that week and by
arresting me for making a false statement she will receive it. She says since I’ve never
been arrested that this will not be an issue and I won’t go to jail. She helps me write
simple statement saying I caused bruises to my face be we were ina fight and I was mad
etc. ]’m arrested and given a desk appearance ticket for falsifying a police report. I agree
to plan as attack had happened in PUBLIC on a STREET CORNER in BROAD
DAYLIGHT and I knew if ever investigated that it would be proved that ] was not lying.
When I appear in court to answer on the DAT a month later the DA declines to prosecute
when [ make court appearance and issues an ACD which I do not sign or agree to.

Night of November 11/12 2010: Raheem breaks into my house and is waiting for me
when I come home. I had been at Amsterdam Ale House for dinner. Police saw me
(officer Loor) come home as they beeped at my taxi to move aside when I was paying
fare and waved at them when I disembarked. When I entered my home Raheem attacked
me, stole my money and choked me until I passed out on my living room floor. When I
regained consciousness I tried to run for door and screamed for help. At that point
Raheem tried to detain me and I was thrown/pushed through a 30 gallon fish-tank. When
Raheem realized what he did he panicked and stepped in the glass to pull me out of tank
as I was sitting in glass and foul water. He stepped on glass in his flip-flops and needed
to be treated months later in December or early January at st. Luke's for an infection he
suffered from a shard of glass lodged in his foot from that evening that had become
infected. Neighbors all called police and they were pounding on my door: there must
have been 30 officers in my house that night. After much arguing with police (Raheem
had disappeared out the back door) I was taken to Metropolitan Hospital and treated. The
FDNY ambulance workers (Valentin was one of them) remember the mcident and how
strange the police were acting. The doctor who treated me can also comment on this (dr.
Albert Della Fave--ER Resident.) MANY neighbors heard me screaming for my life
and called police that night. survey 911 calls

Medical Professionals who Treated me:

FDNY Valentin: see copy of FDNY ambulance report (EXHIBIT #2)

Dr. Albert Della Fave: Metropolitan Hospital ER Resident: 212 423 6262 to attain a copy
of DELLA FAVES INTERNAL DISPOSITION describing events with police and my
treatment beyond the scope of what is in my medical records. (see EXHIBIT # 2

Hospital emergency Report)

November 17, 2010: Beaten by Nancy Powell, Raheem’s mother when I go to her house
to ask her for help in extracting myself from relationship/getting my car and other
belongings back. Face completely covered in blood and deep scratches from her fake
nails digging into my flesh. J have permanent facial scarring as a result. (See Exhibit # 1
Photo of deep scratches on face dated 11/17/2010) Nancy Powell was given an ACD
which she violated by being re-arrested for marijuana possession six months later but the
Das never prosecuted her. (2O10NY092185).

 

 
 

 

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November 22, 2010: after lying in bed frightened and starving for five days while my
house is trashed (rocks thrown through front window, flowerpots broken, doormat in
front of front door stolen, trash cans trpped, doorbell constantly rung to the point I had to
disable it) I go to the police in fear of my life. Police see the damage on my face still five
days later and allow me to make report against Nancy Powell however they refuse to
allow me to make a report about the November 11/12 incident where Raheem threw me
through a fish tank and instead the precinct instructs me to go to family court to attain a
restraiming order against him which I do (Exhibit # 26) I take it to police to serve and they
tell me to come back. J return a few days later with Family Court restraining order to
serve again and the precinct refuses to act on it. This continues for weeks.

December 22nd, 2010: beaten, robbed, dragged into street by Raheem after he breaks
into my house and steals my money and phones. Multiple witnesses call 911 for help.
Precinct desk sergeant Agron tells me when J go to make report that he will arrest me for
trespassing if I don’t leave the precinct, Refuses to act even though I have an active
restraining order against Raheem. He refuses to look at it let alone serve it. I call 911
from inside precinct to report his conduct and the operator tells me they can’t do anything
to help me.

More fights through December 2010 and January 2011. ***TI attempt to lock Raheem out
over Christmas and Raheem incessantly pounds on door and windows calling me all
night for two days when I wouldn’t let him in********I had a friend staying with me,
Dirk Caldwell from Black Enterprise. He witnessed this barrage of harassment and
vowed to only return to my house ‘with a gun to protect himself.’ Dirk Caldwell VP of
Sales at Black Enterprise witnessed Raheem trying to break down my door and his
incessant pounding on my windows 347.865.5892

January 27th 2011: fight with Raheem. I go to precinct to make police report of incident
and sergeant Agron again tells me that the only thing he can do for me is to “move me to
Nevada” (implying that I am a some kind of filthy degenerate prostitute unworthy of the
NYPD’s assistance.) (See texts from Powell EXHIBIT #12)

January 28th 2011: I make appeal to detective Simmons to help me. She is disgusted at
Agron for his treatment of me and insists | make reports about 12/20 and 1/27 incidents
to DV officers when they are in the next day. Simmons agrees to help me if tell her
everything I know about Raheem’s drug-dealing and his connections etc. I ask about
signing a complaint for injuries dating fram 11/11/2011 and Simmons tells me its too late
that the precinct will look bad.

January 29th 2011: Interviewed by DTs about Raheem’s drug sales enterprise. They
never ask me to show them pictures, ER reports or anything related to my abuse
whatsoever etc. Detectives tell me the only way they will help keep Raheem away from
me and to get my car back from Raheem 1s if I press charges against Raheem.

January 30th 2011: DV officer McNair takes report of 12/20 incident and encourage me
to make report about 1/27 incident. Lam leery b/c no one saw him harm me on 1/27 but
people did see me harmed on 12/20. Precinct tells me that Raheem has been making

reports against me and that if I don’t make report about 1/27 incident “decisions may be

 
 

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made that are not in my favor.” J ask again to make a report about incident on 11/10 and
am told that; ‘ too much time has passed’ by officer McNair and that “the Precinct will
look bad” if they take a report for an assault that happened over two months ago even
though I was accompanied to ER by the SHIFT SARGEANT and over half a dozen blue
uniforms and at least two detectives.

January 31st 2011: file report regarding 1/27 incident.

February Ist, 2011 receive call from 28” pet DV officer McNair telling me Raheem has
been arrested and served with restraining order. he then asks me where I am and presses
me. He insists he must know my whereabouts. I refuse to tell him.

February 2nd 2011: receive call from DA Strohbehn: she tells me I have “less than an
hour” to get downtown to her office. When I arrive she and det. Simmons and another dt
from the 28 (George?) peppers me with questions, call me a liar. Strohbehn informs me
she is declining to prosecute Raheem, refuses to look at any evidence | have that supports
that I have not been making-up abuse, accuses me of running a dominatrix dungeon out
of my brownstone apt, informs me that if I make another report against RAHEEM that
she will ‘lock me up and throw away the key”. She also informs precinct that she will
personally handle all of my inquiries and if T have “a bullet-hole in my head that they are
to call her first before responding to any call from me.” She also encourages Raheem to
press counter-claims of harassment against me and instructs me that even though I
haven’t been served that I am to show up in family court the next morning to respond to
Raheem’s charges. She tells me I will be charged with contempt of court if J do not show
up. She tells me her only concern is that “an innocent black man has been sitting in jail
for 24 hours...”"(See Exhibit #25 Powell’s family court complaint vs. me). My landlord,
Adam Gargani attempts to call her to introduce his perspective based on repeated reports
of abuse enacted on me at the hands of Powell and Strohbehn hangs up on him (see Letter
from Landlord Gargani Exhibit #3).

February 3rd: Powell tries to accost me on way out of family court. Judge denies his
petition for a reciprocal restraining-order ADA Maria Strohbehn refuses to help me file
report about Raheem’s conduct on way out of court building. I make report with Det.
Mortimer at 5th precinct of violation of restraining order. He is told to stand down
regarding investigation and arrest of Powell.

February 2011: I discover I am pregnant

Early February 2011: Neighbors tell me that nude photos of me have been texted around
to all the neighborhood boys, I call precinct and Strohbehn and no one will take report. |
call Mortimer and he tells me he can’t do anything. Lt. LArocea from the 2g" pet
encourages me to make a report to the court and to the Department of Investigations as he
informs me that ADA Strohbehn has instructed the pet. to not take any reports from me.
(PLEASE CONTACT LT LAROCCA he has retired and rumored to be living in Florida.)

February-Marcy 2011 Numerous calls from Raheem from Pay phones remember many
and can pinpoint March 16th 10:30am repeated calls from him. please check my phone
records 212 470 5624 was my number then.)

February/March 2011: I make various calls to DV advocates/Mayor’s office complaining
about Strahbehn, how she never investigated my allegations and refused to prosecute my

 
 

 

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batterer. I am informed by ADA Larry Newman that Strohbehn is removed from my
case/investigating my allegations.

February 20th 2011: I call Raheem to tell him about pregnancy. I was extremely
uncomfortable and in pain. We speak for hours/days on end about situation. Raheem
enraged that I will not return to him and that I am considering terminating my

pregnancy. He’s also enraged that I beg him to seek counseling for his abuse and battery.
I beg him to admit his wrongdoing for the sake of our unborn child and to take the
batter’s course. He is Beyond angry that I am now living in expensive loft in SOHO, that
I have a new boyfriend, and that ] am considering an abortion.

February 23 (cq)2011: receive call from officer Diaz at DV office of 28th precinct asking
me to “come in to tell them how things are going.” I smell something fishy and bug out.
Officer McNair admits to me that Raheem made claims of harassment against me, He’s
surprised to find out that Raheem and I had been discussing my pregnancy. Tells me I
will be arrested.

February/March 2011: I miscarry my child. It is a long, drawn-out miscarriage painful
and protracted. I don’t even realize what is happening for the first week or so of the
miscarriage.

March 24th 2011: arrested in Manhattan family court by FOUR NYPD DETECTIVES
from the 28...Det. Simmons is called in front of Judge Sattler and lies on the stand (see
attached transcript from Family Court Exhibit #13). After she is allowed to cuff me in
front of Judge Sattler because she alleges she has investigated my claims of battery and
they are not credible she takes me to the 23" pet for booking and while there responds to
a question I ask her (after she calls me a liar and accuses me of making up abuse} by
saying: “Kelly: T don’t tell you how to lay {sic} flat on your back and spread your legs
when you do your job and I certainly don’t expect you to tell me how to do mine...”
while I am in the holding cell at the 28 DT squad room.

Later that evening as J am being arraigned the ADA standing in the court part, Ms.
Zeinreich, eagerly tells Judge she is filing and expedited count sheet and requesting for a
restraining order against me and filing a family registry this is before any member of the
Das office investigated any of my allegations. NO one asked me to sign HPPA forms, to
review photographs or for numbers of neighbors that could confirm my allegations.

May 2011: arrested by Dt. Fontanez for contempt of court. Not given time to make bail:
taken straight to Rikers island where I am beaten. Raheem’s cousin works on Rikers
island so I was treated with special disdain. Dt. Fontanez promises if I] come with him
quietly that he will investigate my claims thal Raheem beat me. Contract sinus infection
that causes hearing loss on Rikers. Rikers staff loses my belongings and refuses to give
me house keys when | am discharged. Corrections officers Montague and others I made
note of. They can vouch to the abuse I suffered while in custody of the NYCD. (Exhibit
#6)

May/June 2011: Jumped by women's shelter dwellers at 233 W. 120th st. who do drugs
with Raheem’s cousins across the street three times. Police called: they refuse to help.

 

 
 

 

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May/June/July 2011: constantly taunted by neighbors about beatings and called a whore.
Told my life is in danger by Raheem’s drug-pusher TY who was still slinging Raheem’s
drugs out of 239 w 120th st. #2.

AUGUST 2011: multiple attacks and constant taunting & harassment by neighbors with
allegiances to Raheem. Police take reports.

III. Events that led to the filing of Federal
Department of Justice/CCRB/IAB/DOI/OIG
complaints & details of those incidences.

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Complained July 15th, 2011 complaint # 11-31923 and #1 1-43253 that Dt. Simmons
failed to investigate my allegations of abuse at the hands of Powell, and that the 28th
precinct never investigated my complaints. No action was ever taken nor any report
provided back to Manhattan North haison (as per officer Van Vorren and SGT Purcel on
Manhattan North Patrol Bureau desk.}

NEITHER ADA Maria Strohbehn nor Detective Simmons investigated my assertions that
I had been abused by Powell. They never inquired about the abuse and checked with my
neighbors, interviewed me about the abuse, reviewed the photographs (Exhibit #1) ,
hospital emergency room reports (Exhibit #2), receipts for broken windows and kicked-
down doors or to spoke with my neighbors who had heard and seen the constant

battery. They never investigated my claims of abuse at the hands of Powell before the
squad at the 28"" precinct charged me with hundreds of crimes against Powell. They
failed to interview my landlord (Exhibit #3) and neighbors (and even lied about this);
never looked at or compared photos of my severe injuries (#1) or hospital emergency
room reports (#2); never requested that my sign HPPA forms (Exhibit #24) releasing
medical records, and refused to collect/ accept other evidence such as 911 calls, receipts
for repair work for broken windows or doors that had been kicked down that proves that
regular battery had taken place against my by Powell. They accused me of fabrication
without knowing or seeking to examine the facts and then initiated an elongated, over-
zealous, and incorrectly charged case against me.

ADA Strohbehn and Detective Simmons never investigated the facts of my abuse despite
the fact that on the night of November 10-11] th, 2010 over thirty members of the 28th
precinct converged on my home. The police accompanied my ambulance to Metropolitan
hospital after I had been choked until passing out and thrown through a fish tank by
Powell (see Exhibit #2 bospital records and Exhibit #1 photographs of permanent
scarring from being thrown through fish tank). They never asked me to sign a HPPA
form or for permission to speak to various doctors that had treated me for the many
emergency room visits she made in 2010. They never interviewed neighbors who heard
constant battery and called the police beseeching them to help me before they accused me
of crimes and incarcerated me setting off a chain of events that would place me and my
life into a Devil’s cauldron of misery.

Simmons and I had had a previous encounter on October 14, 2010 when I begged the
28th precinct not to file a report of abuse that ] wasn’t ready to submit. Officers Diaz and

 
 

 

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McNair had told me that I could have a night to sleep on a report I was contemplating
making before they would initiate action on. I was not ready at that time to initiate a
prosecution against my balterer, Raheem Andre Powell, as he had threatened me with
blackmail and reminded me that he had Police connections and would ‘ruin me’ if I
reported his battery to the police. Upon arriving at the 28th Precinct on the morning on or
about October 14th, 2010 and telling the DV officers McNair and Diaz that I was
choosing to not initiate prosecution against Powell for beating me on 10/11/2010 I asked
them to tear up the 61 report. The previous evening I had been told by the police that they
would allow me time to think about if I wanted to follow through with the filing of the
complaint against Powell. I was reticent to go forward with my claim against Powell for
several reasons including that Powell was blackmailing (Exhibit #12) me by telling me
that he would release intimately personal photos and information about me to my family
and colleagues if I ever went to the police about the battery he unhanded on me. (please
refer to exhibit #12, cell phone transcripts of messages sent to me from Powell! proving
the blackmail). The DV officers had already elevated the report even though they had
promised not to and it had been assigned to Detective Simmons.

79. Simmons agreed to tear up my report against Powell only if I wrote out statement saying
Thad made a false report and inflicted injuries on
myself. Simmons recommended this course of action as it was the easiest way to make the
situation go away. Simmons stated that she needed overtime hours that day and as it was
nearing the end of her shift and by booking me that day for filing a false police report she
would get some overtime hours. Simmons told me that as I had never been arrested that I
would only receive a Desk Appearance Ticket and that no one would go to jail. She also
warned me to keep my head down and that I should move out of the neighborhood because
from this point on “you’re on your own.” The report that I had made was for injuries
inflicted on me in public on the corner of 118th st. and St. Nicholas Avenue. The events were
witnessed by people known to me and I knew that if my story was ever followed up on that
the facts would come out so I agreed to Simmons’ plan. Simmons informed me that this was
the only way she would not arrest Powell based on my complaint filed without my permission
by the DV officers. Detective Simmons coached me on how to retract my statements: asking
me to rewrite a4 synopsis of events several times each time asking me to write the time at the
top of the page much earlier than the last so that Detective Simmons “could receive overtime
by catching the case with enough time to start to work it” on 10/14/2010. A record of
Simmons’ overtime request and payment is on file for this day (Please double check date—
Simmons’ OT was same day as my DAT).

80. On March 24th, 2011 Detectrve Simmons was called in front of Judge Sattler in Family
Court and asked if she had investigated my claims of abuse and if they were credible.
Simmons replied “no” (Exhibit #13 ) even though she had not questioned me about my
emergency room visits, reviewed photos of injuries taken by my neighbors, or
interviewed my building super, landlord or neighbors about the ongoing abuse. After
Simmons answered that she did not believe my allegations Judge Sattler allowed four
officers from the precinct to cuff me in the Family Court House on Lafayette 5t in her
courtroom and transport me back to the 28th precinct for booking and further processing
and arraignment. DETECTIVE SIMMONS HAD NEVER INVESTIGATED MY
ALLEGATIONS OF ABUSE & SHE PERJURED HERSELF IN OPEN COURT.

81. When I was in the cell in the squad room AFTER being arrested in Sattler’s court I
inquired as to why Simmons hadn’t investigated my claims. My home was 1.5 blocks

 

 
 

 

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from the Precinct on 122nd but no one in my brownstone was interviewed about the
constant abuse. Detective Simmons replied to my query: “Miss Price, when you lay on
your back and spread your legs while doing your job I’m not standing over you telling
you what to do and J sure as hell don’t expect you to tell me how to do mine...”

Complaint # # 11-31923 was marked “unsubstantiated” by It. Rentas and 1 1-43253 was
closed by a 28 squad investigator and closed by It. laburda: 678 1608. No one ever
contacted me to interview me regarding these complaints,

9/1/2011 Filed complaint vs. Officers Bright, Ebright and Raman as well as Sergeant
Agron for incident on 8/31. IAB complaint # 11-39869 PO EBRIGHT PO RAMAN and
PO Ehlers]. This complaint was marked by the 28 precinct as unsubstantiated by
someone named Lopez. Basically these cops instead of taking my report of death threats
by Raheem’s friends outside my home chided me, harassed me, and laughed in my face.
When they arrived on scene and Ebright said to me; “Miss Price I hope someday Iam
called to your home and you are lying dead on the sidewalk with a knife in you...”

October 2011; filed IAB complaint # 1149386 against 28 pct DV officers Rosendary
and Simmons WHO THREW AWAY MY 61 when I complained that Powell was
violating his restraining order. (exhibits 14 & 15) complaint cl-1-667494377. This
complaint was referred back to the precinct for investigation by the manager of the
officers, the SGT also marked my complaint as UNSUBSTANTIATED.

On October 25, 2011 I attempted to file a DIR report with the 28” precinct about a
violation of a restraining order Powell had committed on 10/21/11 against an order of
protection issued by Judge Sattler (Docket #0-00763-11, File # 1685, order #2011-1195
issued on 9/29/11 expiring on 3/29/12.) | was refused the opportunity to make a report of
the violation on the date of occurrence. I went back on subsequent days in an attempt to
file the report and Captain Williams, the CO of the 28th precinct, instructed his DV
officers to take the report. The DV officer who took the report eventually (id # 939468)
ripped up the report and refused to process it (Exhibit #14 copy of report ripped up by

DV officers). When following up the next week on the status of the DIR I was told it was
mussing and that I was not invited back into the precinct to refile it. I was accompanied
on 12/01/11 by representatives from the St. Luke’s Roosevelt Hospital Crime Victims
Center back to the precinct to refile a new DIR (Exhibit #15.) The DIR was accepted by
the SGT (id # 933944). Lat that time received an apology from the SGT about the
missing DIR and I provided a copy of the missing DIR to the SGT. The new DIR was
assigned to Detective Ransom of the 28th squad who did not follow-up on any
investigation regarding the complaint. In fact sgt Ransom cngaged in a game of
telephone cat and mouse with me and Powell was never arrested, investigated or
questioned about his offense against the court order. A DIR was lost about a viclation of
a restraining order and the superior marks the complaint about the loss and inaction to
protect my safety ‘unsubstantiated?”

In November of 2011 I filed complaint # £1-55009 against detective Simmons about her
perjuring herself under oath in front of Family Court Judge and failing to investigate my
abuse claims (see court transcript Exhibit #13). This was logged by Detective Rogers on

 

 

 
 

 

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11/29/2011. It was marked unsubstantiated by Lt. Franqui. No one called me or
followed up with me.

IV Details of attacks on my person that the 28th
precinct and other precincts in town refused to
follow up on because they were told by the MDAO
that I was no longer entitled to Police Services

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I was informed multiple times after being assaulted or threatened that the Manhattan DAs
office had instructed the precinct involved not to take my complaint or to not follow-
through on any investigation of my allegations, This happened on numerous occasions
notably: 6/3/2013, 5/17/13, 10/17/12, 07/27/12: (incident #2012-020-2969), 7/14/12,
4/17/12, 1/20/12, 12/1/11, 8/13/11, 8/4/11, 8/2/11. Attacks on my person and death
threats/harassment continued through 2013 when I moved out of the 28th precinct’s
domain. Please refer to incident report slips, jaywalking tickets, hospital records etc.

8/2/11: When assaulted (punched in the face and chest when I went outside to check my
mailbox) in front of my home by neighbors associated with the cousin of my ex intimate
partner and batterer, Raheem Andre Powell, I called 911. p.o. Cooley shield # 14327
responded and told me I was not allowed to receive police services, that the pct. had been
informed by the DAs office that I was ‘crazy’ and that even if he took an incident report
nothing would come of it. I called 911 around 1230 pm. Cooley and his partner arrived
at 1250 pm. I followed up the next day to get incident ID# and was ignored and never
received a call back from a detective investigating the assault or from the mousy grey-
haired mean-spirited clerk in the 29 pct who assigns the ID #. Eventually in 2012 Lt.
LaRocca looked up the incident and provided and [D# to me.

8/11/11: Told by associates of mry ex intimate partner and batterer, Raheem Andre
Powell, who were exiting 239 w 120th next to my brownstone where Raheem operated
his drug distribution in apt #2 upstairs on the second floor in the back of the building

- {overlooking my backyard and bedroom window) that ‘I would be taken care of and that

I should fear for my life. Called 911 to report death threats around 330pm. P.O.
Bonaparte (did not provide shield #) responded with partner around 400pm and took
incident report. No one followed up with me. I followed up and received a complaint
number from It. larocca who looked it up for me; complaint # 2011-28-003732. No one
ever followed up with me about these threats or arrested the perps. They continued to
threaten and intimidate me each time | Jeft my home and encountered them for the next
two years saying; ‘no one cares about you at the precinct; no one gives a shit if anything
happens to you Kelly...’

8/16/11: Assaulted by associate of RAP on my way home from store. Punched in the
face. called 911. Ambulance arrived and treated me, police took report and never
followed up. See photos of busted face taken by FDNY ambulance workers (Exhibit #1
photos dated 8/16/11)
 

 

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91. 8/31 9/1: harassed by associates of RAP. PO EBRIGHT PO RAMAN and PO Ehlers
respond and tell me I should move out of neighborhood, they harass me about associating
with ‘these people in this neighborhood’ and refuse to take my complaint. Ebright tells
me he hopes he responds to one of my complaints one day and ‘finds me lying on the
sidewalk in front of my brownstone with a knife in my back.’

92, 9/24/11 In the wake of the ten-year anniversary of the tragedy of 9/11 the city erupted
with violent clashes between Occupy Wall Street protestors and the NYPD. The whole of
the city was on edge. I had called police after being man-handled by an over-zealous man
in a bar and been humiliated by the officers who arrived. After the officers refused to take
report I walked away and said ““Ya’ll should go fuck yourselves you don’t help anyone.” I
did not scream this at the top of my lungs: I said it as J turned to walk away overwhelmed
with despair and tears rolling down my face and was apprehended forcefully from behind
causing bruises to my entire body.(Exhibit # 10 Injuries sustained from Police beating
Officer Winters of Midtown South)

93. My injuries were sustained as i was tackled from behind by the police that evening, hog-
tied and dragged to a police cruiser (please refer to photographs provided in exhibit #10)
and ambulance workers were called to the 20" precinct to examine me. I had called 911
and then ended up black and blue. My lawyer spent months trying to subpoena all
relevant video and audio material. When the tape finally appeared it had been tampered.
with omitting the exchange outside the midtown bar where I beseeched officers to taker
my 61 report and they summarily dismissed me. Eventually when the full un-edited tapes
arrived in court months the officers all lied and said that I had screamed at the top of my
lungs “Fuck you” even though the video does not show this nor did the officers report
this in their CCRB interviews or make any notation of it in their logbooks (Exhibit#19
CCRB audiotapes and Exhibit #20 officer logbooks). In fact when questioned directly
about the actual words that came out of my mouth by the CCRB the officers actually
can’t remember what I said/when I said anything specifically.

94. On September 24, 2011 I was propositioned by a man at a bar and I rebuffed his
advances. The gentleman as it turns out was the owner of the bar and was upset at the
way [ turned him down. He put his hands on me and I told him he had no night to touch
me. The spat escalated and he had his bouncer grab me and throw me out of the bar
injuring me as I was tossed through the door. My chest was sore and beginning to bruise
and I know NO ONE is allowed to put their hands on me so | called the police to report
the incident (see video inside bar).

95. When the police arrived the lead officers ignored me and marched into the bar to tall to
their buddies (apparently the bar is only a block away from the 14" pet. and they frequent
the place).

96. Without listening to my side of the story the officer in charge, Matthew Winters, told me
“to keep it moving” that he wasn’t doing anything te record the menacing, assault, and
harassment I had just encountered, | told the officers they are not allowed to refuse to
take my 61 report and that [ would be making CCRB and IAB reports about their
misconduct and callous regard for my safety. I was upset and | turned to walk away I was

 
 

 

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crying and I said to the officers: “Ya'll don’t help anyone ya’]] should go fuck
yourselves.” (see video outside bar)

I proceeded two steps away from the group of four cops and from behind me and without
warning Officer Winters tackled me to the ground by kneeing the back of my right knee
and forcing me to collapse. He also grabbed my upper arms so hard literally each of his
fingers made a bruise in my flesh. You can make out his handprints in the flesh of my
upper artns (see attached photos and the bruise in the back of my right leg among others
see exhibits # 10.)

I woke up hours later in a jail cell literally covered in bruises with officer Winters
standing over me. He told me that I was arrested for disorderly conduct and that he had
gone through my purse and found a few small dime bags of weed that I had as well as
several condoms. He said that he was throwing the weed out as a favor to me and
expected me “to do him a favor in return.” He suggested that I don’t report my injuries
incurred during arrest and that “things would go in my favor.” He also asked why I had
so many condoms, I told him ] was headed to a swinger’s party that evening and he
informed me he could have me also arrested on suspicion of prostitution and intent to
distribute marijuana but that he was “being a nice guy.” I listened to him with doubt and
astonishment as I rubbed at my swollen wrists, hands and several dozen bruises all over
my body. I was furious, Since when does a woman in NYC who calls the police for help
B/C SHE has been harmed wind up incarcerated and beaten by the cops responding to her
call for help?

ADA Kenya Wells caught the case. At that time another drawn-out case maliciously
filed against me by Mr. Wells was pending over me. Mr. Wells kept insisting that I had
made false reports to the police about my ex-boyfriend, Raheem Powell who had been
beating me and subjecting me to economic, emotional, and physical abuse. [ was
charged after I went to the police for help to get him away from me because of my ex’s
relationship with the precinct as a confidential informant. He was a key witness ina
murder, an attempted murder and several gang-related cases that were m-motion already
so the police and Mr. Wells threw me to the wolves instead of assisting me at the darkest,
bleakest, most helpless moment in my life. That case against me was eventually dropped
after I stood in court for two years with the scars on my body burning under my dress as I
repeatedly was called a fabricator in the J-DV court part. Mr. Wells had already made
poorly-investigated conclusions about my other case (again similar scenario with him—
no investigation just jumping to conclusions based on his own gut). Eventually that case
was dismissed and sealed after I rejected every offer Mr. Wells through at me to try to
cover up his errors. Mr, Wells had a special vendetta against me because he was
forced to drop the (329 incorrectly charged and malicious) charges he had filed.
When it came time for trial for my disorderly conduct case Mr. Wells was prepared
to do whatever it took to win: his reputation and his personal vendetta against me,
a domestic violence survivor, a 911 survivor, and a 4" generation New Yorker was
at stake.

 
 

 

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SETTING THE SCENE: September 24, 2011 was an emotional time for me. It
was shortly after the ten-year anniversary of the 911 attacks that I had survived by
running for my life away from the towers and everything I had built for myself had
subsequently unraveled around me because of the ineptitude and hubris of this young,
untrained, sloppy District Attorney who had thrown me in Rikers island on Mothers’ day
after I miscarried my child and tumed my life upside down. I had spent all weekend with
a friend of mine, Lewyn Pogue, a member of SPECIAL FORCES NAVY SEAL TEAM
6, who was in town to swim in the “Little Red Light house Race” to raise money for the
families of his friends who had died in an horrible attack on their helicopter in
Afghanistan earlier that summer. It was the deadliest attack to date in that war and our
emotions were high. I had been crying all day for the most part. I had nothing left inside
of me. I wanted to sit down and have a drink quietly somewhere before moving on to a
party that night. Coincidentally the cops were twitchy. The entire city was on red-
alert because the Occupy Wall Street marchers had violently clashed for the first
time that morning with police and many members of the 14" pct. had been involved
in crowd control. The cops were agitated and twitchy. The bruises literally covering
my body were a by-product of their sour mood. Lewyn can testify to the fact that I had
nary a bruise on me when he left me half an hour before I strolled into the Stitch bar on
W 37" st where I was assaulted. I had also had dinner at a place in Midtown I go to often
and the bartender can also aver that I had nary a bruise on me while she served me my
Cobb salad and coffee. I’m happy to provide you this information should you need it.

Mr. Wells didn’t even investigate the case: My Lawyer, Benjamin Dell from
Legal Aide, spoke with Mr. Wells after the arrest and before my first court appearance.
Mr. Wells didn’t know that I had called 911. He said to my lawyer that in fact the
incident had happened because the police had come upon me screammg and simply
arrested me. When my lawyer, Benjamin Dell, suggested to Mr. Wells that there are 911
calls of my calmly requesting for police assistance Mr. Wells seemed panicked, He was
also informed that there were video cameras all over the bar that would corroborate my
story and it was suggested that he drop the case because the police had beaten me badly
and ] was a woman who had called them for help. Mr. Wells refused and scrambled to
try to reconcile the way he wanted to paint the events of the evening to get a conviction.
He knew he couldn’t prove that a crowd had gathered or that I had blocked traffic on the
sidewalk if the video was shown at tral. He then embarked on a campaign to keep the
video tapes of the events from surfacing. Please pull the Part A transcripts for the case
and pay careful attention to how many times Mr. Wells argues with the judges (on more
than one occasion) about the lack ef necessity of attaining the video tapes. In one
instance the Judge in the court part remarked that she is surprised that Mr. Wells didn’t
already have the tapes in his possession and that he doesn’t feel they are relevant! Isn’t it
the DAs DUTY to investigate? Isn’t failing to do so an egregious error that allows for
the breakdown of prosecutorial immunity? Is this not being taught to young ADAs in
the Manhattan District Attorney’s office? We (Mr. Dell and I) had asked Stitch bar for
the tapes and they had refused. Instead we subpoenaed them from the CCRB as J had
made a CCRB complaint as soon as I was released trom jail. Graham Daw at the CCRB
can attest to the fact that the bar sent over edited versions of the video tapes first that
omitted all interaction I had with the police outside the bar. Why would the bar do this?
Someone needs to ask the owners of Stitch bar if they were instructed by the police or by
Mr. Wells to do so when they have to answer under sworn testimony. Eventually the
correct tapes were sent to the CCRB and Graham Daw on passed them to the court. This
caused MUCH consternation, huffing, puffing and pouting at each new court date when
they didn’t appear as Mr. Wells wanted to press on for trial. Surprise: the tapes were

 

 

 
 

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mysteriously LOST in the courthouse for months after they arrived. Please note the court
transcripts where My lawyer asks for a delay in trial until the tapes can be found by the
Part A clerk and please note Mr. Wells insistence that the trial go forward without the
tapes. The judges kept asking Mr. Wells why he had not pulled the tapes to begin with
and Mr. Wells simply kept averting the questions. The plain truth is that he HAD to have
already pulled the tapes and they did not corroborate the Police’s version of the story that
would allow him to take me to trial and justify his pursuit of the case against me so he
tried to keep them out of our hands and the hands of the court. He stated MANY times
on record that he had never seen the tapes. I would be very interested if your conviction
integrity officers can compare records of when he got a hold of the tapes at the DAs
office and then compare that information with Mr. Wells’ statements in court. He claims
the first time he saw the video was in late Sept/early Oct of 2012. I sincerely doubt his
honesty concerning his statements to this effect. I would bet dollars to donuts that Wells
had the video tapes in hand in late 2011 or early 2012.

In each of the three interviews the CCRB conducts with three of the four
officers who responded to my 911 call there is a different story told than the
manufactured, glossed, coached and clean version that Mr. Wells helped the officers
recapitulate on the stand at trial. Please listen to each of the interviews. Not one of
the officers states that I raised my voice and screamed at a level 10 out of 10 being the
loudest a human voice can possibly make during their CCRB interviews. In fact the
officers don’t even recall what I said as I walked away from them. But MAGIC! —when
Mr. Wells called them to the stand they ALL say that [ screamed “FUCK YOU” at the
top of my lungs to the cops. How strange: magically over a year later all three cops’
stories changed and were consistent! There must be a magic memory pill in the water at
the 1 Hogan Place witness lounge! A few weeks after the incident when the officers
were questioned by CCRB inspectors there was not a narrative consensus about what |
said or how I said it but over a year later at trial all of a sudden each officer magically
remembers that I screamed at the top of my lungs “fuck you?” I find this incredulous.

In addition to the lack of consensus about events stated in recorded CCRB interviews in
NONE of the officer’s log books is any sort of notation that I screamed aloud or that even
recounts what | said. One would logically think that this information had it really
occurred would have been recorded in the log books OR remembered in the CCRB
interviews.

The fourth Police officer, a young, Caucasian, female officer was never
interviewed or called to testify. We need to get her version of the story. Her name was
Officer . She was Maladano’s partner that evening and when I saw her
in the pet the next afternoon as I was being led to a waiting van to be transported to the
tombs for arraignment and booking she looked disgusted to see the amount of bruises all
over my body caused by the brutal arrest by Officer Winters. Her CCRB interview,
logbooks and statements about the incident are SUSPICIALLY ABSENT FROM THE
OFFICIAL RECORD.

The video tapes show that a crowd NEVER gathered to witness “the spectacle I
{sic] was making.” Please review. The cops all say different-sized clusters of people
were slanding just out of camera sight in their CCRB interviews in different places.
NONE of their statements to the CCRB is consistent with what they claimed at trial.
Please make note of time-stamps: xyz on the video tape and abc on the ccrb interviews.

 

 
 

 

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In November of 2011 My Legal Aide Attorney, Benjamin Wells, attempted to
turn in a motion to the court asking the judge to dismiss the case against me as other
cases had recently been dismissed of similar circumstances when constituents in NYC
had said anything similar to “fuck yourselves” to NYPD. The ADA standing in the court
part literally said: “Your honor I need you to know that Miss Price is considered a
DANGEROUS person as she currently has over 300 counts of DOMESTIC VIOLENCE
pending against her upstairs in Judge Dawson’s I-DV court part.” There was an audible
gasp from the judge and gallery and the Judge dismissed Mr. Dell’s motion based on this
assertion. The ADA intentionally made it sound as if I had been abusing someone
physically instead of the other way around. To what ends to these lies serve? How dare
the District Attorney’s office enter intentional falsehoods and misleading lies onto the
court record. These liabolous statements caused me creal injury and when I get a hold of
the transcript I will be adding this ADAs name to the list of persons guilty of crimes
against me in a revised complaint to NY Supreme Court.

The conviction revolved around Mr. Wells’ LIE about the tone of my voice. He
coached the cops to say that I screamed at the top of my lungs at a level TEN (being the
loudest a human voice can possibly make according to Wells). Never had the cops made
this statement before to any interviewer of the CCRB or in their log books. The reason
Mr, Wells had to coach the cops to LIE is this is the only way he could win the case.
This is why he didn’t want the video tapes introduced into evidence. He did not want to
have to suborn perjury but was forced to do so to win the case and tried everything in his
power to avoid this. There simply is no other explanation for his reticence in presenting
the tapes to court.

I was convicted of TWO counts of disorderly conduct as one was for allegedly
screaming and one was for making an obscene gesture but never in court did anyone
mention that I made an obscene gesture in thetr logs, in their CCRB interviews or at
Trial. This count should most certainly be dropped because it was never proven. Instead
it was merely just brvouacked onto the other charge without any lip-service whatsoever.

Mr. Wells started his statements at trial by alleging to the judge that] am a
“fabricator” and that I had hundreds of criminal charges filed against me because of this
false fact. My lawyer objected stating that these cases were dismissed and sealed and
Wells argued that he could bring up the cases because they supported his theory that I
was a fabricator and that my credibility is allegedly weak. He was so hell-bent on
making me appear to be a lying fabricator that he asked his colleague, ADA Bernard, ta
decline to prosecute another man who had hit me outside of a bar on July 28, 2012
shortly before my trial] date. That man went on to assault, stalk, masturbate on, and
trespass against several other women in town BECAUSE HE WAS not punished for his
acts against me, Please look up this criminal: Rami Baly. ADA Richendorfer is
FINALLY prosecuting him OVER a full year later for his crimes against me because I
made complaints to the DOI, the IAB, the State Attorney General, Senator Gillabrand,
Councilwoman Quinn, Councilwoman Dickenson, the Mayor’s office, the Borough
President, the Public Advocate, and the New York State Bar Association about how my
right to equal protection under the law had been stripped from me. Mr. Wells couldn’t
have me appear as an innocent defendant in the same courthouse at the same time |
 

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he was trying to paint me as a crazy fabricator in front of the judge to win a
disorderly conduct conviction. So Mr. Baly was set free instead to punch NYPD
officers (he was arrested a month Jater for assaulting an officer, arrested in
November of 2012 for Jewd acts on an Amtrak train, arrested in March of 2013 for
trespassing and stalking, again in May, again in June and again in July of 2013.
Conveniently Mr. Wells aided and abetted Mr. Baly in his crime spree against other
women in the City of New York by tricking his fellow colleague inte declining to
prosecute Mr. Baly so that he could paint me as ugly as possible on a fresh
courtroom canvas. Look: this is anathema. Re-read the above paragraph. Mr. Wells
wanted to win against me so badly that he had a colleague sit on a case against a man
who clearly needed to be under psychiatric care and have his dopamine levels regulated
and monitored all in the name of winning against me, Is this really a person you want in
your office? This guy is the JAYSON BLAIR of the District Attorney’s office and
should be arrested himself for malicious prosecution, obstruction of justice, tampering
with evidence and suborning perjury. Because of Wells’ grudge against me many other
women in town were armed by Baly. See below paragraphs detailing events that
transpired on the evening of 7/27-/7/28 2012

10/21/11: Raheem breeches restraining order in front of my home. A report is
finally made on 12/1/11 for Raheem’s breech of restraining order see description of my —
attempt to file a report for Raheem’s breech of restraining order detailed above tn the
section outlining events that led to me filing and IAB complaint against the DV officers
Rosendary and Simmons above in section II. (Exhibits # 14 & #15),

1/20/12: Attacked by woman named INA who lived across the street in the
white building Raheem’s uncle and cousins dwelled in on 120th near my brownstone.
This woman has known my batterer since he was a child, is a known street walker,
crack/cocaine addict and has had her youngest daughter, Sarde, removed from her by
children’s services. She encountered me as I as walking to the store and began yelling at
me abut how she loved watching people attack and harass me whenever I left my home. I
replied that she was a crack whore who couldn’t even take care of her own children, that
often I had to care for ‘Dee-Dee” (short for Sarde) often when she was too cracked out to
help her own daughter with her homework or when she fell off her bike and needed
bandaging and love. I had even taken her kid to Chucky Cheese with other neighborhood
girls once when | surprised all the little girls on the block with an outing to the restaurant
in September of 2010. Ina became enraged and smacked me in the face with a closed fist
resulting in my front right tooth becoming dislodged and landing on the sidewalk. As
blood spurted from my face and I searched the sidewalk for my missing tooth Ina picked
up a long wooden Jeg from an old table that still had large protruding nails at the top of it
where it had once been attached to the table top. She began to run at me with this
weapon and the only person on the sidewalk who interfered was the neighborhood UPS
guy, Danny, who jumped off his truck and tackled INA so she would not club me from
behind with the weapon. At that moment a police cruiser passed by and I waved it
down. IT was a Manhattan north It. and his assistant who took my details and said they
would on pass my complaint to the 28 but that I should also call 911 which I did. The
complaint was assigned to Dt. Fontanez who followed up once with me asking who my
assailant was. I gave her first name and address to Fontanez and he mentioned he
couldn’t make an arrest based on that. I deplored him to make an arrest and he drove me
around one night when ] saw her walking in the neighborhood but never followed up

 
 

 

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again with me about locating this crazed attacker. I called Fontanez multiple times
reminding him that the statute of limitations on assault is two years and he told me that he
couldn’t do anything because his hands were tied.

111. 4/17/12 attacked in front of home again.

112. 7/14/12, attacked in front of 200 St. Nicholas Ave., around the corner from my
home on way home from store. Hair grabbed and slammed over and over onto pavement
by associates of RAP. Knee damaged bruises all over. called 911 around 200 am in the
morning and P.O. Johns and partner responded, told me they wouldn’t do anything to
help. I insisted it is my constitutional right to make a 61 report and that it is illegal for
the police to refuse to take my report. They gave me an incident slip marked
‘harassment’ around 230 a.m. No one ever called or came by my brownstone to
investigate or follow up. I attempted te get an ID number for my complaint and was
rebuffed again by the mean mousy grey-haired lady who assigns these numbers in the
28th pet.

113. 7/25-7/25 2012 (Late night/early morning on the 25") 7/27-7/28 2012 (Late
night/early morning on the 28") Incident at Soldier McGee’s Bar. See Exhibit #1 photos
dated 7/28/12 In this case the man who attacked me (incident #2012-020-2969), was let
go by the 20" precinct and he continued to stalk, flash, and trespass and terrorize other
women in town. The sarne man who attacked me on 7/28/12 went on to continue to
terrorize women in NYC.)

  
  

 

Summons Appearance
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139.Mr. Baly went on to assault, stalk, masturbate on, and trespass against several other

- women in town after he was not punished for his acts against me. Instead, Mr. Baly was
set free by the 20" precinct’s Detective Galan to purport other crimes on the public: he
was arrested in November of 2012 for lewd acts on an Amtrak train, arrested in March of
2013 for trespassing and stalking, again in May, again in June and again in July of 2013.
The system itself aided and abetted Mr. Baly in his crime spree against other women in
the City of New York. Mr. Wells needed to win against tne: a colleague of his sat on a
case against a man who should have been arrested and penalized for his behavior as well

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as under psychiatric care,

140.0VER A YEAR LATER charges were subsequently brought against the man, Rami

Baly, (New York Criminal Court case #s 2013NY031505, 2013NY049135, and
2013CN000347) the same man who attacked me on 7/28/12. All other crimes Mr. Baly
was charged with occurred after Baly attacked me and was allowed to wall free out the
back door of the 20th precinct without arrest in August of 2012, Baly proceeded on a
crime spree against women that ran from the fall of 2012 to the summer of 2013. On
numerous occasions the detectives and the other ranking members of the 20th precinct
(Lt. Carbone) informed Price and her advocate, Kerri Toner, from Saint Luke’s
Roosevelt Hospital’s Crime Victims Center/Connect NYC that the reason that Mr. Baly
had not been arrested was that he could not be located, Mr. Baly had paid with a credit
card that evening at Soldier McGee’s bar and the DAs office refused to request a
subpoena from the court to attain his billing information so that he could be
apprehended.

141.When Mr. Baly returned to the bar on or about August 25" of 2012

approximately a month after assaulting me staff members alerted the
20th precinet and he was apprehended. When he was approached by
officers in the bar he acted disorderly, aliegedly fought with officers
and resisted arrest. He was arrested (case # 2012NY067321) and
released and given “time-served” but not charged with the assault
against me. The detective assigned to the case, Galan, pretended Baly
could not be located even though this was not the case. Galan had
been told by the MDAO that they would NOT press charges against
him and to NOT arrest him. He had been arrested already and not
charged with the crime against me but was charged with acting
disorderly and resisting arrest when NYPD approached him to
question him! I pushed the case and my advocate, Kerri Toner, from the St. Luke’s
Roosevelt Crime Victims Center ‘Connect NYC inquired as to why no photo lineup had
been done after the assault and nor any follow-up was made to trace Mr. Baly after he
was let go as per procedure outlined in the NYPD Patrol handbook (citation needed).

142.Ms. Toner was told that the case was being pursued and Baly could not be located and

she made notes to this effect in her log (see Exhibit #40 ). It was not until after Mr. Baly
had committed other predatory crimes against other women that Baly was arrested for his
assault against me which was over a year after his crime! Baly was arrested on 4/24/13
NINE MONTHS AFTER he assaulted me when he appeared m crimmal court to answer

. charges of criminal trespass (PL 140.01(a)), public lewdness PL 245.00), and public

exposure of a person (PL 245.01). He had been arrested for these NEW CRIMES
against ANOTHER WOMAN by the t* Precinct’s Officer Jessica Valle on 4/21/13 for
crimes he committed against Knstyn Abbale. Following the arrest and the issuance of a
desk appearance ticket to Baly for his crimes against me that had happened a year earlier
neither I nor Ms. Toner from Connect NYC/Mt. Sinai & St. Luke’s Roosevelt CVTC
was not informed of his arrest. The first we ever heard of Mr. Baly was when I received
a voice mail message from ADA Laura Higgins (nee Richendorfer) on June 23, 2013
informing me she was investigating the assault. A prosecution of Baly for his crime
against me was initiated on paper, never investigated by Das office (See Exhibit # 41
Statement from Soldier McGee’s Bartender stating he was NEVER contacted by ADA
HIGGENS) but later dropped. The DAs office told the judge presiding over the case that

 
 

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they couldn’t locate ME to testify and the case 30-30’d. The bartender who witnessed
events the night of the attack and when the man returned to the bar weeks later was never
interviewed by police. Ms. Higgins informed me that my allegations were too difficult
to prove. HOW WERE MY ALLEGATIONS SO DIFFICULT??

143.10/17/12 While walking home from the subway on 125th street and passing 200 st.

Nicholas Ave I was attacked by someone named Willy who sells Heroin on the stoop of
that building and is an associate of RAP. He jumped me as I was passing his stoop and
threw me onto the ground causing substantial damage to my right knee (see photos
Exhibit #1 photos dated 10/17/12 ). I went to the emergency room and have reports and
follow-ups from my orthopedic surgeon stating that I need knee surgery as a result of
attack (Exhibit #23 ER Report and Orthopedic evaluation). P.O. Longo responded
(shield # 31565) and said they were instructed by desk sergeant not to take my repori. I
insisted and they said they would turn in a notation to the desk sergeant about the
incident. I called the desk sergeant and complained No one ever called me to follow up
on this assault. complaint # 2012-28-005194, The first police who responded to my call
said; ‘aren’t you the crazy one we are not supposed to take reports from?” P.O. Longo
and Walker eventually followed up after I called 911 and complained about the first
officers on scene. P.O. Walker sympathetically stated to me that the District Attorney’s
office had instructed the precinct not to respond to any of my calls. This was Witnessed
by my neighbor, Elizabeth Walker, who is a graduate of Harvard University, Colombia
Law School and a MEMBER OF THE NEW YORK BAR ASSOCIATION. WALKER
PRESSED WILLIAM'S AND LONGO TO TAKE MY COMPLAINT, reminded them
that it is illegal to deny a person police services. Williams commented that the precinct
had been instructed by the District Attorney’s office to not respond to any calls I made
AND THEY took my information and told me nothing would be done eventually. (See
Exhibit #30 Letter from Elizabeth Walker.)

144.On the night of 6/2/2013-6/3/2013 While en route home from the Amsterdam Ale house

on 76th and Amsterdam where I had dinner with a friend of mine I instructed the cab
driver to follow a certain route and he refused. I asked him to stop his cab so I could get
out and instead he locked the doors and sped up. He carried on like this for a number of
blocks white I screamed at him to stop the cab and let me out. I called 911 from the back
of the cab and when we stopped at a red light nearby police from the 28th pct were called
aver. Officer Officer was one of these officers and he announced to his partner that |
was not to be given police services or assisted in any way and that he refused to take a
report from me. I called 911 and reported this incident. Surprise; it was never followed
up on.

145.6/2013; while in route to the subway past precinct from my home Detectives from the

28 squad opened their windows overlooking my path up St. Nicholas to the 125th st.
subway station and ‘MOC’ at me as if] were a cow. I called the precinct and
complained to the CO and his assistant immediately.

146. July 2013; while walking my dog near my home I’m given a jaywalking ticket on the

 

 
 

 

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comer of 120th and St. Nicholas (I have eyewitnesses that will testify that I did not
jaywatk) even though I wasn’t jaywalking. 28th pct cops were rude and condescending.
I fought the ticket in court and won (docket # 20135N053520).

147.2014: ADA Carolyn Maloney is assigned to represent three ADAs I named on my NY
Supreme Court Lawsuit vs. City of NY. Maloney commits various acts of perjury within
her own sworn court papers in an attempt to mislead the court.

148. June 2014 ADA Maloney in DIRECT CONFLICT OF INTEREST WITH HER
ETHICAL OBLIGATIONS AND VOWS takes on the role of acting as FOIL officer in
response to my FOIA request for all information in my MDAO files, As Maloney is the
attorney representing individuals named in lawsuit how possibly could she fulfill her
legal obligation to provide me with materials I am legally and lawfully entitled to that
would implicate her colleagues in my lawsuit? Who allowed this mewling ingénue to
take on the responsibility of being the same FOIL officer to respond to my request? I
will on pass communications regarding this request separately. I’m still barking mad
that anyone in the MDAO, especially her supervisors Patricia Bailey and Susan Roque
would allow this misdeed and clear violation of ethics and legal standards to take place.
I’m filing a Federal Lawsuit about this matter to be meted out in a court that does not
care that she is the daughter of the very congresswoman who wrote the FOIA legislation
her own child willfully spits in the face of.

149. The Manhattan District Attorney, Mr. Cyrus Vance, Jr., quoted Berger v S, 295 U.S. 78,
88 (1935) in his Recommendation for Dismissal of charges against DSK:

“Along with the substantial power conferred upon prosecutors come unique
responsibilities. Rather than serving only as a zealous advocate on behalf of a
client, prosecutors have a broader set of obligations to the community, the victim,
and the defendant: the [prosecutor] is the representative not of an ordinary party
to a controversy, but of a sovereignty whose obligation to govern impartially is a
complain as its obligation to govern at all; and whose interest, therefore, ina
criminal prosecution is not that it shail win a case, but that justice shall be done.
As such, he is in a peculiar and very definite sense the servant of the law, the
twofold aim of which is that guilt shall not escape or innocence suffer.” HOW
MUCH LONGER MUST I SUFFER MR SCHLANGER?

V. Moving FORWARD: THE MDAO, MISS PRICE,
AND ADVOCACY FOR THE PROFESSION OF
PHOTOJOURNALISM IN NYC,

139.1 have some ideas about how the MDAO can rehabilitate its reputation and restore its
good name in regard to the mess tt has caused itself over my case. Many people in town
know about my case, the abusive treatment the MDAO unhanded to me and the

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